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           Case 19-25757-JNP                                   Doc 321 Filed 01/21/20 Entered 01/21/20 16:15:44                                                                         Desc Main
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 Fill in this information to identify the case:

 Debtor name            Kline Construction Co., Inc.

 United States Bankruptcy Court for the:                       NEW JERSEY

 Case number (if known)               19-25757-JNP
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       13,834,647.18

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       13,834,647.18


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        5,901,439.49


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $        3,300,888.98

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       11,363,151.86


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         20,565,480.33




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name          Kline Construction Co., Inc.

 United States Bankruptcy Court for the:            NEW JERSEY

 Case number (if known)         19-25757-JNP
                                                                                                                                       Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     TD Bank                                                Operating Account                2348                                    $60,030.68




            3.2.     TD Bank                                                Regular Payroll Account          2355                                    $96,622.05




            3.3.     TD Bank                                                Union Payroll Account            1090                                    $27,269.92




            3.4.     Magyar Bank (as of 7/31/19)                            Checking                         3270                                     $8,420.53



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                   $192,343.18
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
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                Name



 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
     Yes Fill in the information below.
 11.       Accounts receivable
           11a. 90 days old or less:                         1,991,816.00       -                            150,000.00 = ....                $1,841,816.00
                                              face amount                               doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                               $1,841,816.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last              Net book value of          Valuation method used   Current value of
                                                      physical inventory            debtor's interest          for current value       debtor's interest
                                                                                    (Where available)

 19.       Raw materials
           Inventory (book value)                                                           $400,957.00                                         $400,957.00



 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                                 $400,957.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                               Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 2
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                Name


     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Book value                                                                $191,940.00                                      $191,940.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                          $191,940.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Vehicles (book value) - see attached list                     $8,231,425.00                                    $8,231,425.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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                     Attachment to Schedule B
                           No. 47 – Vehicles
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KLINE CONSTRUCTION CO., INC.
19‐25757‐JNP
SCHEDULE A/B, LINE 47

Quantity Type                   Manufacturer   Model No.                          Serial No.          Year/Age    Mileage/Hours
       1   Pickup Truck         FORD           F‐150 SUPERCREW                    1FTFW1EF2BKD93695   2011        139,416
       1   Pickup Truck         CHEVROLET      SILVERADO 1500 PICK UP             1GCRCPE03BZ375296   2011        199,199
       1   Pickup Truck         FORD           F‐150 PICK UP TRUCK                1FTNF1CF2EKD47674   2014        124,731
       1   Pickup Truck         CHEVROLET      C‐2500 PICKUP TRUCK                1GCHC24U96E260055   2006        248,442
       1   Utility Truck        CHEVROLET      3500 UTILITY TRUCK                 1GBHC24KX7E562703   2007        184,708
       1   Van                  FORD           E350 CUTAWAY                       1FDSE35L34HA23483   2004        172,164
       1   Utility Truck        CHEVY          C‐2500 UTILITY TRUCK               1GBHC24K07E562595   2007        231,004
       1   Pickup Truck         GMC            K1500 Pickup Truck                 1GTEK14C17Z652979   2007        178,605
       1   Pickup Truck         FORD           RANGER                             1FTYR10U08PA74037   2008        185,257
       1   Pickup Truck         FORD           RANGER                             1FTYR10U18PA74032   2008        176,734
       1   Pickup Truck         FORD           RANGER                             1FTYR10U58PA74020   2008        175,000
       1   Pickup Truck         FORD           RANGER                             1FTYR10U18PB01164   2008        164,865
       1   Utility Truck        CHEVROLET      C‐2500 UTILITY TRUCK               1GBHC24K57E561006   2007        270,700
       1   Pickup Truck         FORD           RANGER                             1FTYR10U48PA74042   2008        200,413
       1   Pickup Truck         FORD           RANGER                             1FTYR10U58PA91688   2008        157,439
       1   Pickup Truck         FORD           RANGER                             1FTYR10U38PA74064   2008        152,134
       1   Pickup Truck         CHEVROLET      C‐2500 PICKUP TRUCK                1GCHC24U16E261359   2006        236,182
       1   Pickup Truck         FORD           RANGER                             1FTYR10U38PB01165   2008        174,218
       1   Pickup Truck         FORD           F‐150 PICK UP TRUCK                1FTRX12W37NA56277   2007        261,289
       1   Pickup Truck         FORD           F‐150 PICK UP TRUCK                1FTRF12W04NB48767   2004        254,364
       1   Pickup Truck         FORD           F‐150 PICK UP TRUCK                1FTNF1CF7CKD80490   2012        115,821
       1   Pickup Truck         FORD           F‐150 PICK UP TRUCK                1FTNF1CF3EKD48011   2014        89,423
       1   Pickup Truck         FORD           F‐350 PICK UP TRUCK                1FDSF34548EC04664   2008        129,923
       1   Pickup Truck         FORD           F‐350 PICK UP TRUCK                1FDSF34538EC04672   2008        112,577
       1   Pickup Truck         FORD           F‐350 PICK UP TRUCK                1FDSF34538EA74537   2008        155,782
       1   Pickup Truck         FORD           F‐350 PICK UP TRUCK                1FDSF345X8EA74549   2008        127,421
       1   Pickup Truck         FORD           F‐350 PICK UP TRUCK                1FDSF34518EC09417   2008        178,845
       1   Pickup Truck         FORD           F‐350 PICK UP TRUCK                1FDSF34578ED31974   2008        105,555
       1   Pickup Truck         FORD           F‐350 PICK UP TRUCK                1FDSF345X8EC04622   2008        130,126
       1   Pickup Truck         FORD           F‐350 PICK UP TRUCK                1FDSF34598EA74543   2008        162,776
       1   Pickup Truck         FORD           F‐150 PICK UP TRUCK                1FTNF1CF7BKD39386   2011        196,996
       1   Pickup Truck         FORD           F‐350 PICK UP TRUCK                1FDSF345X8EA90461   2008        148,499
       1   Pickup Truck         FORD           F‐350 PICK UP TRUCK                1FDSF34568EA83376   2008        135,650
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KLINE CONSTRUCTION CO., INC.
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SCHEDULE A/B, LINE 47

Quantity Type                  Manufacturer   Model No.                          Serial No.          Year/Age    Mileage/Hours
       1   Pickup Truck        FORD           F‐150 PICK UP TRUCK                1FTNF1CF5BKD45574   2011        129,272
       1   Pickup Truck        FORD           F‐150 PICK UP TRUCK                1FTNF1CF5BKD28581   2011        168,842
       1   Pickup Truck        FORD           F‐150 PICK UP TRUCK                1FTNF1CF7BKD28579   2011        174,245
       1   Pickup Truck        FORD           F‐350 PICK UP TRUCK                1FDSF34538EA74568 2008          109,214
       1   Pickup Truck        FORD           F‐350 PICK UP TRUCK                1FDSF34528EC19227 2008          151,150
       1   Pickup Truck        FORD           F‐350 PICK UP TRUCK                1FDSF34568EC04701 2008          143,205
       1   Pickup Truck        FORD           F‐150 PICK UP TRUCK                1FTNF1CF6BKD28587 2011          164,789
       1   Pickup Truck        FORD           F‐350 PICK UP TRUCK                1FDSF34588EC04604 2008          177,094
       1   Pickup Truck        FORD           F‐350 PICK UP TRUCK                1FDSF34558ED36073 2008          161,012
       1   Pickup Truck        FORD           F‐350 PICK UP TRUCK                1FDSF345X8EC04698 2008          140,784
       1   Pickup Truck        FORD           F‐150 PICK UP TRUCK                1FTNF1CF5EKD47684 2014          94,070
       1   Pickup Truck        FORD           F‐250 PICK UP TRUCK                1FTSW21Y18EB43531 2008          108,505
       1   Pickup Truck        FORD           F‐250 PICK UP TRUCK                1FTSW21YX8EB43530 2008          93,433
       1   Pickup Truck        FORD           F‐150 PICK UP TRUCK                1FTNF1CF5CKD80245 2012          131,242
       1   Pickup Truck        FORD           F‐150 PICK UP TRUCK                1FTNF1CF4CKD80317 2012          144,965
       1   Pickup Truck        FORD           F‐150 PICK UP TRUCK                1FTNF1CF2CKD80476 2012          149,080
       1   Pickup Truck        FORD           F‐150 PICK UP TRUCK                1FTNF1CF8EKD84468 2014          122,906
       1   Pickup Truck        FORD           F‐150 PICK UP                      1FTMF1CM3DKF17453 2013          114,920
       1   Pickup Truck        FORD           F‐150 PICK UP TRUCK                1FTMF1CM6DKG15800 2013          150,436
       1   Pickup Truck        FORD           F‐250 SD 4X4 P/U                   1FTNF21L03EB71413 2003          224,664
       1   Pickup Truck        FORD           F‐150 PICK UP TRUCK                1FTNF1CF3EKD20967 2014          80,087
       1   Pickup Truck        FORD           F‐150 PICK UP TRUCK                1FTNF1CF1EKD47682 2014          77,860
       1   Pickup Truck        FORD           F‐150 PICK UP TRUCK                1FTNF1CF8EKD17692 2014          35,000
       1   Pickup Truck        FORD           F‐150 PICK UP TRUCK                1FTNF1CF1EKD64286 2014          131,637
       1   Pickup Truck        FORD           F‐150 PICK UP TRUCK                1FTNF1CFXEKD84455 2014          91,139
       1   Pickup Truck        FORD           F‐150 PICK UP TRUCK                1FTNF1CF5EKD20856 2014          103,991
       1   Pickup Truck        FORD           F‐150 PICK UP TRUCK                1FTNF1CF7EKD47654 2014          75,801
       1   Pickup Truck        FORD           F‐150 PICK UP TRUCK                1FTNF1CF7EKD63983 2014          133,356
       1   Pickup Truck        FORD           F‐150 PICK UP TRUCK                1FTNF1CF1EKD48010 2014          118,888
       1   Pickup Truck        FORD           RANGER‐EXT CAB                     1FTYR14U48PA08617 2008          112,558
       1   Pickup Truck        FORD           RANGER‐EXT CAB                     1FTYR14U28PA08633 2008          136,214
       1   Bucket Van          CHEVROLET      G3500 VAN BUCKET                   1GCHG35U651207229 2005          90,462
       1   Pickup Truck        DODGE          RAM 1500 P/U                       1C6RR6GT3GS226751 2016          99,250
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KLINE CONSTRUCTION CO., INC.
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SCHEDULE A/B, LINE 47

Quantity Type                  Manufacturer   Model No.                          Serial No.          Year/Age    Mileage/Hours
       1   Pickup Truck        DODGE          RAM 1500 P/U                       1C6RR6GT0GS198911   2016        84,810
       1   Pickup Truck        DODGE          RAM 1500 P/U                       1C6RR6GTXGS332274   2016        60,994
       1   Pickup Truck        DODGE          RAM 1500 P/U                       1C6RR6GT8GS226874   2016        85,105
       1   Pickup Truck        DODGE          RAM 1500 P/U                       1C6RR6GT1GS226764   2016        89,439
       1   Pickup Truck        DODGE          RAM 1500 P/U                       1C6RR6GT0GS226920   2016        90,314
       1   Pickup Truck        Ford           F250 Pick Up Truck                 1FTSW21Y38EB43529   2008        55,211
       1   Van                 GMC            G3500 Cargo Van                    1GTHG35U751234424   2005        88,659
       1   Van                 GMC            G3500 Cargo Van                    1GTHG35U051235205   2005        111,311
       1   Pickup Truck        Ford           F150 P/U 4X4                       1FTNF1CF6BKD36026   2011        99,500
       1   Pickup Truck        Chevy          K2500HD P/U 4X4                    1GC0KVCG6CZ112947   2012        31,369
       1   Pickup Truck        Chevy          K2500HD P/U 4X4                    1GC0KVCG5CF108552   2012        29,624
       1   Pickup Truck        Ford           F150 P/U 4X4                       1FTFX1EF1BFC06307   2011        126,550
       1   Pickup Truck        Ford           F150 P/U 4X4                       1FTFX1EF3BFC22914   2011        144,358
       1   Pickup Truck        Ford           F150 P/U 4X4                       1FTFX1EV0AFC98371   2010        121,822
       1   Pickup Truck        Ford           F250 P/U 4X4                       1FTSX21597EB21410   2007        129,720
       1   Pickup Truck        GMC            K2500HD P/U 4X4                    1GTHK24U74E307003   2004        74,692
       1   SUV                 MERCURY        MARINER                            4M2CN9HG1AKJ15954   2010        188,896
       1   SUV                 HONDA          ELEMENT                            5J6YH2H75BL004940   2011        211,465
       1   Hatchback           FORD           C‐MAX                              1FADP5AU1DL517054   2013        175,250
       1   SUV                 CHEVROLET      TAHOE HYBRID                       1GNFK13519R159336   2009        183,229
       1   Sedan               FORD           CROWN VIC                          2FAHP71W35X175481   2005        285,876
       1   SUV                 FORD           C‐MAX                              1FADP5AU9DL525080   2013        174,627
       1   SUV                 MAZDA          TRIBUTE                            4F2CZ02Z28KM03508   2008        266,943
       1   SUV                 MAZDA          TRIBUTE                            4F2CZ92Z78KM16615   2008        187,939
       1   SUV                 CHEVROLET      TAHOE                              1GNFK130181122157   2008        201,550
       1   Sedan               FORD           TAURUS SE RED                      1FAFP53UX5A214535   2005        229,138
       1   Sedan               FORD           TAURUS SE WHITE                    1FAFP53U36A101060   2006        180,000
       1   Hatchback           CHEVY          HHR                                3GCCA85D28S679455   2008        238,914
       1   Hatchback           CHEVY          HHR                                3GCCA85D88S657105   2008        229,890
       1   SUV                 FORD           ESCAPE                             1FMYU92Z97KB42896   2007        153,445
       1   SUV                 Ford           Expedition EL                      1FMJK2AT0GEF06021   2016        121,011
       1   SUV                 Ford           Expedition EL                      1FMJK1JT4GEF02628   2016        119,616
       1   Pickup Truck        Ford           F‐350 SRW                          1FDWX35P16EB15212   2006        259,041
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KLINE CONSTRUCTION CO., INC.
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SCHEDULE A/B, LINE 47

Quantity Type                  Manufacturer   Model No.                          Serial No.        Year/Age    Mileage/Hours
       1   Rollback Truck      HINO           185 ROLLBACK TRUCK                 5PVNC6JKX62S50052 2006        209,005
       1   Landscape Truck     FORD           F‐550 LANDSCAPE TRUCK              1FDAF56P44ED45301 2004        207,998
       1   Landscape Truck     FORD           F‐550 LANDSCAPE TRUCK              1FDAF56P64ED45302 2004        206,889
       1   Rollback Truck      FORD           F‐550 ROLLBACK TRUCK               1FDAF56F13EB00381 2003        175,574
       1   Rollback Truck      HINO           185 ROLLBACK TRUCK                 5PVNC6JK062S10286 2006        214,316
       1   Rollback Truck      HINO           185 ROLLBACK TRUCK                 5PVNC6JK862S10312 2006        204,511
       1   Utility Truck       FORD           F‐450 UTILITY TRUCK                1FDXF46F43EB00377 2003        251,741
       1   Boxtruck            MITSUBISHI     FUSO FE‐125 BOX VAN                JL6AAG1S98K009507 2008        102,123
       1   Flatbed Truck       FORD           F‐450 FLAT BED TRUCK               1FDXF46P44ED45299 2004        190,700
       1   Dump Truck          MITSUBISHI     FE‐180 DUMP TRUCK                  JL6CCD1S66K000651 2006        162,939
       1   Utility Truck       FORD           F450 UTILITY TRUCK                 3FELF47F1VMA11842 1997        147,097
       1   Flatbed Truck       HINO           145 FLATBED TRUCK                  JHBNA6JJ051S10099 2005        222,299
       1   Dump Truck          HINO           165 DUMPTRUCK                      JHBNA6JM251S10101 2005        198,795
       1   Flatbed Truck       HINO           145 FLATBED TRUCK                  5PVNA6JM062S50052 2006        209,397
       1   Utility Truck       HINO           145 UTILITY TRUCK                  5PVNA6JF862S10058 2006        146,341
       1   Rollback Truck      MITSUBISHI     FME145 ROLLBACK W/AIRC             JL6BBE1S57K017835 2007        221,469
       1   Rollback Truck      MITSUBISHI     FE145 ROLLBACK                     JL6BBE1SX7K017801 2007        205,738
       1   Rollback Truck      CHEVROLET      C‐5500 ROLLBACK                    1GBE6H1JXSJ105401 1995        219,088
       1   Utility Truck       FORD           F‐350 UTILITY BODY                 1FDKF38M0LNB10470 1990        96,160
       1   Utility Truck       FORD           F‐350 UTILITY TRUCK                2FDKF37G3NCA62256 1992        117,133
       1   Boxtruck            MITSUBISHI     FE125 BOX VAN                      JL6AAE1S88K017148 2008        188,200
       1   Utility Truck       FORD           F550 UTILITY TRUCK                 1FDAF56R28EC89298 2008        173,654
       1   Van                 CHEVROLET      G‐3500 BOX VAN                     1GB3G3CG0D1158409 2013        146,857
       1   Van                 FORD           E‐350 BOX VAN                      1FDWE3FL4BDA84040 2011        184,509
       1   Flatbed Truck       HINO           268 FLAT BED                       5PVNJ8JT162S50175 2006        451,099
       1   Bucket Truck        FORD           F‐550 BUCKET TRUCK                 1FDAF56R78ED46370 2008        200,000
       1   Utility Truck       GMC            SIERRA 3500HD UTILITY TRUCK        1GD7C2BK2AF130730 2010        242,633
       1   Boxtruck            HINO           195 BOX VAN                        JHHYDM1H3GK003246 2016        45,446
       1   Utility Truck       CHEVROLET      K2500HD UTILITY TRUCK              1GB0KVCG2CF191538 2012        226,526
       1   Dump Truck          FORD           F‐450 DUMP TRUCK                   1FDXF46PX5EC28022 2005        125,189
       1   Dump Truck          Ford           F550 Dump Truck                    1FDAF56F81ED32912 2001        187,083
       1   Dump Truck          Ford           F550 Dump Truck                    1FDAF56P16EC71788 2006        128,244
       1   Van                 FORD           E‐550 BOX VAN                      1FDAE55F13HA90972 2003        113,506
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Quantity Type                    Manufacturer    Model No.                          Serial No.         Year/Age    Mileage/Hours
       1   Flatbed Truck         International   4700 Flatbed Truck                 1HTSCNDK2MH333979 1991         4,113
       1   Van                   Ford            LCF450 Van Body Truck              3FRLL45Z97V576614 2007         38,923
       1   Dump Truck            Ford            F550 Dump Truck                    1FDAF56P46EA57460 2006         107,058
       1   Dump Truck            Ford            F550 Dump Truck                    1FDAF56P16EC71791 2006         158,792
       1   Bucket Truck          Chevrolet       C‐5500 Bucket Truck                1GBE5C1274F520499 2004         207,682
       1   Van                   Ford            LCF 450 Van Body TK                3FRLL45Z57V566470 2007         50,200
       1   Boxtruck              Hino            155 Van Body Tk                    JHHYDM1HK004116 2017           22,631
       1   Utility Truck         Ford            F350 Utility                       1FD8X3H68HEC22983 2017         53,711
       1   Utility Truck         Ford            F350 Utility                       1FD8X3H66HEC22982 2017         36,587
       1   Boxtruck              Mitsubishi      FE140 w/ 16' Van Body & Rail       JL6BBE1SX7K018804 2007         197,705
       1   Bucket Truck          Ford            F‐450 BUCKET TRUCK                 1FDUF4GY4JEB75385 2018         40,142
       1   Utility Truck         Ford            F‐450, Utility                     1FD9C4HT2EC49019 2018          11,265
       1   Boxtruck              Mistubishi      Fuso‐ Box                          JL6AMG1A9LK001429 2011         108,369
       1   Bucket Truck          INTERNATIONAL   7400 BUCKET TK                     1HTWCAAR44J092074 2004         123,200
       1   Rollback Truck        FORD            F‐650 ROLLBACK TRUCK               3FDNF6536YMA02401 2000         286,897
       1   Tanker Vacuum Truck   INTERNATIONAL   4900 TANKER VACUUM                 1HTSDZ7R8MH331442 1991         118,336
       1   Bucket Truck          INTERNATIONAL   4400 BUCKET TRUCK                  1HTMKAAN73H585440 2003         116,488
       1   Dump Truck            FORD            F‐650 DUMP TRUCK                   3FDWF65Y83MB02816 2003         134,754
       1   Crash/Arrow           FORD            F‐800 CRASH/ARROW                  1FDNF80CXWVA33480 1998         207,762
       1   Crash/Arrow           FORD            F‐800 CRASH/ARROW                  1FDNF80C1WVA33481 1998         204,102
       1   Boxtruck              FORD            F‐800 BOX VAN W/AIRC               1FDNF80C9VVA00419 1997         204,061
       1   Boxtruck              MITSUBISHI      FUSO BOX VAN W/AIRC                JW6DNN1E5SM000873 1995         257,059
       1   Dump Truck            FORD            F‐750 DUMP TRUCK                   3FDPF75A11MA45272 2001         163,094
       1   Flatbed Truck         INTERNATIONAL   7600 FLAT BED/DRILL                1HTMSAZR05J057998 2005         369,465
       1   Boxtruck              MITSUBISHI      FUSO FM617 BOX VAN W/AIRC          JW6DEN1E3TM000534 1996         281,512
       1   Dump Truck            FORD            F‐750 DUMP TRUCK                   3FRWF7FE0BV551434 2011         179,200
       1   Pump Truck            Peterbilt       330 PUMP TRUCK                     2NPNHD7X43M8100142003          186,420
       1   Digger Truck          FORD            F‐750 UTILITY DIGGER               3FRXF75R17V514814 2007         74,591
       1   Digger Truck          International   4300 UTILITY DIGGER                1HTMMAANX8H6752942008          88,689
       1   Dump Truck            FORD            F‐650 DUMP TRUCK                   3FRWF65224V611363 2004         234,820
       1   Rodder Truck          International   RODDER TRUCK‐4700                  1HTSCAAM4TH211833 1996         217,223
       1   Flatbed Truck         VOLVO           WG64 Flatbed D/A‐Drill             4VHJCSABE8VR857991 1997        58,282
       1   Tanker Vacuum Truck   INTERNATIONAL   4300 TANKER VACCUUM                1HTMMAAN55H6980252005          241,213
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Quantity Type                    Manufacturer   Model No.                          Serial No.        Year/Age    Mileage/Hours
       1   Crash/Arrow           HINO           268 CRASH/ARROW                    JHBNE8JT251S11451 2005        161,604
       1   Flatbed Truck         HINO           268 FLATBED TRUCK/DRILL            JHBNE8JT951S11432 2005        101,470
       1   Flatbed Truck         HINO           338 FLATBEAD TRUCK‐DRILL           JHBNV8JL451S10012 2005        128,861
       1   Flatbed Truck         HINO           268 FLATBED W/AIR COMP             5PVNE8JP762S50026 2006        179,436
       1   Dump Truck            HINO           338 DUMPTRUCK                      5PVNV8JVX62S50083 2006        226,854
       1   Reel Carrier Truck    GMC            C‐7500 REEL CARRIER                1GDM7H1J4WJ507601 1998        279,580
       1   Flatbed Truck         HINO           338 FLATBEAD TRUCK‐DRILL           5PVNV8JV662S50050 2006        179,625
       1   Crash/Arrow           HINO           268 CRASH/ARROW                    5PVNE8JT062S50043 2006        179,964
       1   Crash/Arrow           HINO           268 CRASH/ARROW                    5PVNE8JT162S50052 2006        182,377
       1   Crash/Arrow           HINO           268 CRASH/ARROW                    5PVNE8JR162S50024 2006        168,987
       1   Rollback Truck        HINO           258 ROLLBACK                       5PVND8JP572S50157 2007        168,951
       1   Crash/Arrow           INTRNTNL       4700 CRASH/ARROW                   1HTSCAAM9XH609142 1999        87,428
       1   Crash/Arrow           INTRNTNL       4700 CRASH/ARROW                   1HTSCABM9YH228858 2000        57,468
       1   Crash/Arrow           FORD           F‐650 CRASH /ARROW                 3FRNF65984V685511 2004        82,125
       1   Crash/Arrow           HINO           268 CRASH/ARROW                    5PVNE8JV972S50609 2007        154,347
       1   Crash/Arrow           HINO           268 CRASH/ARROW                    5PVNE8JV672S50616 2007        171,761
       1   Crash/Arrow           HINO           268 CRASH/ARROW                    5PVNE8JV072S50627 2007        195,650
       1   Tanker Vacuum Truck   INTRNTNL       1954 TANKER VACUUM                 1HTLDTVN6HH476616 1987        312,478
       1   Crash/Arrow           HINO           268 CRASH/ARROW                    5PVNE8JV0B4S52102 2011        93,292
       1   Crash/Arrow           HINO           268 CRASH/ARROW                    5PVNE8JVXB4S52110 2011        71,217
       1   Crash/Arrow           HINO           268 CRASH/ARROW                    5PVNE8JV4B4S52104 2011        105,500
       1   Crash/Arrow           HINO           268 CRASH/ARROW                    5PVNE8JV3B4S52093 2011        102,550
       1   Crash/Arrow           HINO           268 CRASH/ARROW                    5PVNE8JV2B4S52103 2011        81,858
       1   Crash/Arrow           HINO           268 CRASH/ARROW                    5PVNE8JV6B4S52105 2011        92,136
       1   Crash/Arrow           HINO           268 CRASH/ARROW                    5PVNE8JV5B4S52113 2011        97,373
       1   Crash/Arrow           HINO           268 CRASH/ARROW                    5PVNE8JV7B4S52114 2011        99,128
       1   Crash/Arrow           HINO           268 CRASH/ARROW                    5PVNJ8JTXB4S53171 2011        85,252
       1   Crash/Arrow           HINO           ND238 CRASH/ARROW                  5PVND8JT782S50434 2008        138,222
       1   Crash/Arrow           HINO           ND238 CRASH/ARROW                  5PVND8JT282S50471 2008        143,011
       1   Crash/Arrow           HINO           ND238 CRASH/ARROW                  5PVND8JT382S50477 2008        110,000
       1   Crash/Arrow           HINO           ND238 CRASH/ARROW                  JHBNE8JT851S11115 2005        187,050
       1   Crash/Arrow           HINO           ND238 CRASH/ARROW                  5PVNE8JT762S12261 2006        218,155
       1   Crash/Arrow           ISUSU          FVR CRASH/ARROW                    4GTJ7F1314F700266 2004        165,870
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Quantity Type                  Manufacturer   Model No.                          Serial No.         Year/Age    Mileage/Hours
       1   Crash/Arrow         HINO           ND238 CRASH/ARROW                  5PVNE8JV594S51358 2009         123,930
       1   Crash/Arrow         HINO           268 CRASH/ARROW                    5PVNJ8JP872S50131 2007         466,803
       1   Crash/Arrow         HINO           268 CRASH/ARROW                    5PVNJ8JT762S50164 2006         40,991
       1   Attenuator          HINO           268 ATTENUATOR                     5PVNJ8JT4A4S52404 2010         387,038
       1   Attenuator          HINO           268 ATTENUATOR                     5PVNJ8JT9A4S52415 2010         367,463
       1   Attenuator          HINO           268 ATTENUATOR                     5PVNJ8JTXA4S52410 2010         378,622
       1   Attenuator          HINO           268 ATTENUATOR                     JHBNE8JR651S10016 2005         496,902
       1   Attenuator          HINO           268 UTILITY BOX                    5PVNJ8JT3A4S52426 2010         102,136
       1   Attenuator          HINO           268 ATTENUATOR                     5PVNJ8JT7A4S52400 2010         389,400
       1   Attenuator          HINO           268 ATTENUATOR                     5PVNJ8JT8A4S52387 2010         349,817
       1   Attenuator          HINO           268 ATTENUATOR                     5PVNJ8JT3A4S52383 2010         363,284
       1   Attenuator          HINO           268 ATTENUATOR                     5PVNJ8JT0A4S52433 2010         412,325
       1   Attenuator          HINO           268 ATTENUATOR                     5PVNJ8JT7A4S52414 2010         390,568
       1   Attenuator          HINO           268 ATTENUATOR                     5PVNJ8JT8A4S52406 2010         382,117
       1   Attenuator          HINO           268 ATTENUATOR                     5PVNJ8JT8A4S52390 2010         345,558
       1   Attenuator          HINO           268 ATTENUATOR                     5PVNJ8JT1A4S52425 2010         346,614
       1   Attenuator          HINO           268 ATTENUATOR                     5PVNJ8JT9A4S52396 2010         350,630
       1   Bucket Truck        GMC            C‐7500 BUCKET TRUCK                1GDM7H1C7WJ5161331998          141,834
       1   Dump Truck          FORD           F‐750 DUMP TRUCK                   1FDNX7DCXGDA04439 2016         22,146
       1   Dump Truck          FORD           F750 DUMP TRUCK                    1FDNX7DC3GDA04444 2016         44,192
       1   Boxtruck            FORD           F‐750 BOX VAN W/AIR C              1FDNX7DC7GDA06617 2016         23,588
       1   Boxtruck            FORD           F‐750 BOX VAN W/AIR C              1FDNX7DC9GDA06618 2016         17,201
       1   Bucket Truck        Ford           F650 Bucket Truck                  3FDNF6588YMA63986 2000         114,194
       1   Dump Truck          Ford           F750 Dump Truck                    1FDWX7DC3HDB00998 2017         49,978
       1   Truck               Hino           268A ATTENUATOR                    5PVNJ8JV5J4S69133 2018         17,164
       1   Truck               Hino           268A ATTENUATOR                    5PVNJ8JV7J4S69134 2018         30,967
       1   Dump Truck          Peterbilt      567 Dump Truck                     1NPCX4EX0JD460543 2018         31,805
       1   Bucket Truck        Ford           F‐750,Bucket                       1FDWF7DC9HDB12317 2017         32,075
       1   Bucket Truck        Ford           F‐750, Bucket                      1FDWF 7DC6JDFO5486 2018        17,783
       1   Dump Truck          MACK           RD688S/TRI AXLE DUMP               1M2P267C3TM029156 1996         252,434
       1   Pump Truck          Mack           DM690S PUMP TRUCK D/A              1M2B209C4VM020330 1997         216,930
       1   Dump Truck          MACK           RD688/ TRI AXLE DUMP TRUCK         1M2P267C9YM054215 2000         489,043
       1   Tanker Truck        MACK           RD688S/TRI AXLE‐TANKER             1M2P267C5XM044912 1999         187,373
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Quantity Type                  Manufacturer   Model No.                             Serial No.         Year/Age    Mileage/Hours
       1   Truck               FORD           LTA‐9000 TRACTOR D/A                  1FTYY95W8SVA65312 1995         134,179
       1   Truck               FORD           LTA‐9000 TRACTOR S/A                  1FTYS95S8SVA65339 1995         617,331
       1   Truck               FREIGHTLINER   FLD120 TRACTOR D/A                    1FUPYBYB4HH294453 1987         330,770
       1   Pump Truck          Mack           CH613 Pump Truck                      1M1AA12Y2YW128498 2000         63,176
       1   Trailer             DITCH WITCH    TRAILER BT26                          1DS0000M5Y17T2502 2000
       1   Trailer             GENERAL        5 Ton D/A equipment trailer           1120AP209JS050343 1988
       1   Trailer             GENERAL        9 Ton 3 axle equipment trailer        11200D307JS090307 1988
       1   Trailer             EAGER BEAVER   20 XPT 20 ton D/A equipment trailer   112HBV312X1053467 1999
       1   Trailer             BUTLER         5 Ton D/A equipment trrailer          1BUD1620951002035 2005
       1   Trailer             TRAIL King     TK8U 4 ton D/A equipment trailer      1TKU016236B046931 2006
       1   Trailer             HUDSON         HSE 16 D/A equipment trailer          10HHSE16191000003 2009
       1   Trailer             DITCH WITCH    4 ton S/A equipment trailer           DIT2235281         1981
       1   Trailer             BUTLER         LT1016 6 ton D/A equipment trailer    1BUD1620951002312 2005
       1   Trailer             Green          3 ton D/A equipment trailer           1S9E5222761489010 2006
       1   Trailer             BUTLER         BPH POLE TRAILER                      1BUP2510611004891 2001
       1   Trailer             FOSTER         6 ton D/A equipment trailer           4YTES182X1W005122 2001
       1   Trailer             BUTLER         BPHD EXT POLE TRAILER                 1BUP20105E1002653 1984
       1   Trailer             DITCHWITCH     JT‐4 1220 Concrete Trailer            1DS0000D3U17P1258 1997
       1   Trailer             BUTLER         BPH POLE TRAILER                      1BUP2510411004890 2001
       1   Trailer             GENERAL        6 ton D/A equipmen trailer                       1657606 1976
       1   Trailer             DITCH WITCH    4 ton S/A equipment trailer           1DSB181J4217W0856 2002
       1   Trailer             EAGER BEAVER   10 HDB 10 ton D/A equipment trailer   112H8V32841062760 2004
       1   Trailer             EAGER BEAVER   20 XPT 20 ton D/A equipment trailer   112HAN30241062405 2004
       1   Trailer             HOMEMADE       POLE TRAILER                          HMDC2004235        2004
       1   Trailer             DITCH WITCH    10 ton D/A equipment trailer          1DSB232NO517Z2192 2005
       1   Trailer             EAGER BEAVER   20 XPT 20 ton D/A equipment trailer   112HBV3299L074375 2009
       1   Trailer             TRANSCRAFT     FLAT‐BED                              1TTF4520132010171 2003
       1   Trailer             LARK           CARGO INFRA RED                       5RTBE1426AD017616 2010
       1   Trailer             BRI‐MA         12 Ton D/A euipment trailer           43YDC24218C071859 2010
       1   Trailer             CAM            SUPER LINE JT‐7 3020                  5JPBU3428DP031221 2013
       1   Trailer             WITZCO         CHALLENGER                            1W8A11D208S000557 2008
       1   Trailer             TRAILER        W/MSP PUMP                            LSFB1358           1988
       1   Trailer             KIEFER‐PIPE    32‐45 Ft Telescoping Pipe Trailer     1DVDG4524EK060260 2014
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Quantity Type                  Manufacturer   Model No.                                 Serial No.           Year/Age    Mileage/Hours
       1   Trailer             COP            PIPE TRAILER                              1H9PC1721EF423007    2014
       1   Trailer             COP            PIPE TRAILER                              1H9PC1723EF423008    2014
       1   Trailer             EAGER BEAVER   EB 3 AXLE 25 TON                          112HAX355XL052476    1999
       1   Trailer             FRUEHAUF       TANKER Trailer                            UNJ315811            1968
       1   Trailer             COP            PIPE TRAILER                              1H9PC1720FF423002    2015
       1   Trailer             Ditch Witch    10‐Ton T/A Tagalong Support               1DSV302LX91702401    2009
       1   Trailer             KIEFER         S/A COIL PIPE TRAILER                     MVIN203648IND        2001
       1   Trailer             KIEFER         S/A COIL PIPE TRAILER                     1DVDR1216TA003103    1996
       1   Trailer             Centreville    801 7MX‐12M 6 ton D/A equipment trailer   5JVBT1725B1002381    2001
       1   Trailer             Centreville    801 7MX‐12M 6 ton D/A equipment trailer   5JVBT1723B1002377    2011
       1   Trailer             Pequea         1020‐6 ton D/A equipment trailer          4JASL20225G111652    2005
       1   Trailer             Carmate        Enclosed Trailer                          5A3C7201A6L001043    2010
       1   Trailer             Carmate        Enclosed Trailer                          5A3C824D871004392    2007
       1   Trailer             Southwest      Enclosed Trailer                          48B500J20V2013029    1997
       1   Trailer             Carmate        Enclosed Trailer                          5A3C612S6FL003046    2015
       1   Trailer             GE             Motor/Hydraulic‐Coil Reel Trailer         1G9SR0710CG20041     1985
       1   Trailer             Homemade       Self Load‐Coil Reel Trailer               KCRT3                1980
       1   Trailer             Homemade       Self Load‐Coil Reel Trailer               KCRT4                2001
       1   Trailer             Homemade       Self Load‐Coil Reel Trailer               KCRT5                1984
       1   Trailer             Homemade       Self Load‐Coil Reel Trailer               KCRT5                1990
       1   Trailer             Truco          Hydraulic‐Coil Reel Trailer               KCRT7                1979
       1   Trailer             Homemade       Self Load‐Coil Reel Trailer               KCRT8                2000
       1   Trailer             Truco          Hydraulic‐Coil Reel Trailer                            67257   1978
       1   Trailer             Pengo          Hydraulic‐Coil Reel Trailer               6110‐15              1963
       1   Trailer             Homemade       Self Load‐Coil Reel Trailer               KCRT11               1997
       1   Trailer             Homemade       Self Load‐Coil Reel Trailer               KCRT12               2000
       1   Trailer             Lemco          Self Load‐Coil Reel Trailer               191SS091XHP042086    2000
       1   Trailer             K‐Dee/Laun     1085 hydraulic coil cable trailer         1KVXBHE1X610XB398    2006
       1   Trailer             Devine         Self Load‐Coil Reel Trailer               D9RC1027A080239      2003
       1   Trailer             Devine         Self Load‐Coil Reel Trailer               DMD18J8020222C       2003
       1   Trailer             Devine         Self Load‐Coil Reel Trailer               DMD1403830224C       2003
       1   Trailer             Rector         Hydraulic‐Coil Reel Trailer               1F9CR1219TC279008    1996
       1   Trailer             Hogg‐Davis     Hydraulic‐Coil Reel Trailer               1H9401223A1011026    1980
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Quantity Type                  Manufacturer   Model No.                           Serial No.           Year/Age    Mileage/Hours
       1   Trailer             Allegheney     Hydraulic‐Coil Reel Trailer         1A94A1016WC469531    1998
       1   Trailer             Chance         Self Load‐Coil Reel Trailer         T0721                1972
       1   Trailer             Chance         Self Load‐Coil Reel Trailer         T0722                1972
       1   Trailer             Homemade       Self Load‐Coil Reel Trailer         KCRT24               2005
       1   Trailer             Homemade       Hydraulic‐Coil Reel Trailer         KCRT25               2006
       1   Trailer             Homemade       Self Load‐Coil Reel Trailer         KCRT26               2013
       1   Trailer             Homemade       Self Load‐Coil Reel Trailer         KCRT27               2013
       1   Trailer             Troco          Hydraulic Coil Reel trailer         TCR‐14‐1             1978
       1   Trailer             Troco          Hydraulic Coil Reel trailer         TCR‐14‐2             1978
       1   Trailer             Roose Mfg      Hydraulic Coil Reel trailer         1R9RP1118DP136451    2013
       1   Trailer             K‐Dee/Laun     1085 hydaulic coil cable trailer    1KVXBHE19610XB397    2006
       1   Trailer             K‐Dee/Laun     1085 hydraulic coil cable trailer   1KVXBHE12610XB399    2006
       1   Trailer             K‐Dee/Laun     1085 hydraulic coil cable trailer   1KVXBHE18510XB387    2005
       1   Trailer             Homemade       Self Load‐Coil Reel Trailer         KCRT36               2017
       1   Trailer             Homemade       Self Load‐Coil Reel Trailer         KCRT37               2017
       1   Trailer             Rampant        25 ton 3 axle equip trailer         5SPTD3035JW2K0920    2018
       1   Trailer             Safe Stop      Arrowboard W/Crash Attenuator       1ETC191X5A362036     2006
       1   Trailer             Ditch Witch    4 ton S/A equipment trailer         1DSB181J4217W0846    2002
       1   Trailer             Garco          D/A self load coil reel                          67257   1987
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Quantity                      Type               Manufacturer                     Model No.                 Serial No.     Year/Age
           1   Walk Behind Concrete Saw          Core Cut       CC6571D Walk Behind Concrete Saw                                2013
           1   Hydraulic Auger                   CRV ASSY       RS‐6                                         500814             2012
           1   Hydraulic Hammer                  CAT            H90 Hydraulic Hammer                        6T205516            2015
           1   Hammer                            CAT            H90 Hydraulic Hammer                        X9F00552            2015
           1   Hammer                            CAT            H90 Hydraulic Hammer                        X9F00540            2015
           1   Fiber Tester                      EXPO           CWBM                                         764726             2005
           1   Fiber Tester                      V TECH         DWBM                                                            2015
           1   Paver/Spreader                    Roadrunner     MT40‐60                                                         2017
           1   Drill Head Locator/Transmitter                   D.C.I. ‐F5R                                 80085036            2015
           1   Single Frequency Locator/Beacon                  Ditchwitch‐TK SS                         8385061/8385597        2016
           1   Single Frequency Locator/Beacon                  Ditchwitch‐TK SS                         8369375/8385319        2016
           1   Standard Beacon                   Ditch Witch    86 BV2                                       8381853            2016
           1   Generator                         Yamaha         EF7200D                                    7P6‐0250714          2015
           1   Generator                         Yamaha         EF7200D                                    7P6‐0251397          2015
           1   Generator                         Yamaha         EF7200D                                    7P6‐0251087          2015
           1   Generator                         Yamaha         EF7200D                                    7P6‐0250713          2015
           1   Electric Fusion                   MSA            340‐EFPG1                                     33684             2015
           1   Electric Fusion                   MSA            340‐EFPG2                                     33754             2015
           1   Electric Fusion                   MSA            340‐EFPG3                                     33374             2015
           1   Electric Fusion                   MSA            340‐EFPG4                                     33664             2015
           1   Locator                           Ditchwitch     150T 30K/150RP                           8388011/8387931        2016
           1   Locator                           Ditchwitch     150T 30K/150RP                           8389713/8389839        2016
           1   Locator                           Ditchwitch     150T 30K/150RP                           8388012/8387930        2016
           1   Locator                           Ditchwitch     150T 30K/150RP                           8389711/8389841        2016
           1   Locator                           Ditchwitch     150T 30K/150RP                           8383748/8387703        2016
           1   Locator                           Ditchwitch     150T 30K/150RP                           8389712/8389840        2016
           1   Locator                           Ditchwitch     150T 30K/150RP                           8383320/8387932        2016
           1   Locator                           Ditchwitch     150T 30K/150RP                           8389879/8389714        2016
           1   Locator‐recond                    Ditchwitch     150T 30K/150RP                           8405469/8407849        2015
           1   Air Compressor                    Ingersoll                                         185    127904U82953          1995
           1   Air Compressor                    Leroi                                             125      3270X497            1996
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Quantity                           Type         Manufacturer                       Model No.              Serial No.  Year/Age
           1   Air Compressor                   Leroi                                          185       3272X2602         1998
           1   Air Compressor                   Leroi                                          185       3272X2601         1997
           1   Air Compressor                   Leroi                                          185       3272X2070         1998
           1   Air Comp Skid                    Sullivan                                       250         19755A          1999
           1   Air Compressor                   Leroi                                          185       3217X1036         1993
           1   Air Compressor                   Airman                                         185        PDS1855          1999
           1   Air Compressor                   Sullivan                                       185         100698          2011
           1   Air Compressor                   Atlas                                          125       AIA074960         1992
           1   Air Comp Skid                    Sullivan                                       185         100566          2011
           1   Air Compressor                   Atlas                                          125      HOL601188          1994
           1   Air Compressor                   Ingersoll                                      185     300158UDJ221        1999
           1   Air Compressor                   Sullivan                                       185         100482          2011
           1   Air Comp Skid                    Atlas                                          185      USA014419          2006
           1   Air Comp Skid                    Atlas                                          185      USA015930          2006
           1   Air Comp Skid                    Atlas                                          185      USA015798          2006
           1   Air Comp Skid                    Ingersoll                                      185 4FVCABAA26U365541       2006
           1   Air Compressor                   Sullivan                                       185          23169          2004
           1   Air Compressor                   Sullivan                                       185          30118          2011
           1   Air Comp Skid                    Rotair         VRK‐220                                     K40987          2011
           1   Air Compressor                   Airman                                         185      B4‐6E10537         2016
           1   Air Compressor                   Airman                                         185      B4‐6E10530         2016
           1   Arrowboard                       Wanco          Solar WTSP55                         5F11S1015E1003313      2013
           1   Arrowboard                       Wanco          Solar WTSP55                               1.02E+11         2007
           1   Arrowboard                       Wanco          Solar WTSP55                          5F11501261003531      2006
           1   Arrowboard                       Fenex          Solar TMABVA‐15                              32257          2001
           1   Arrowboard                       Wanco          Solar WTSP55                         5F115101961004255      2006
           1   Messageboard                     Solar Tech     Solar Silent Messanger              4GM2M151691410064       2009
           1   Messageboard                     Wanco          Solar WTLMB                          5F12S1614B1000426      2011
           1   Arrowboard                       Ver‐Mac        Solar ST‐4815                        2S9US211XCS132675      2012
           1   Arrowboard                       Ver‐Mac        Solar ST‐4815                        2S9US1113ES132143      2014
           1   Directional Drill                Ditchwitch     JT1220                                      700098          2007
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KLINE CONSTRUCTION CO., INC.
19‐25757‐JNP
SCHEDULE A/B, LINE 50

Quantity                           Type         Manufacturer                    Model No.              Serial No.  Year/Age
           1   Directional Drill                Ditchwitch     JT3020                           CMWJ30M1JC0000662       2012
           1   Directional Drill                Ditchwitch     JT20                             CMWJT20XVG0000854       2016
           1   Directional Drill                Ditchwitch     JT1220                           CMWJ1220C80000299       2008
           1   Plow/Trencher                    Ditchwitch     RT‐55                                    5Y1104          2004
           1   Plow/Trencher                    Ditchwitch     RT‐70                                   5W0097           2002
           1   Vibratory Plow                   Ditch Witch    410‐SXw/hoe                            JG0001312         2015
           1   Vibratory Plow                   Ditch Witch    410‐SXw/hoe                           AG0001315          2015
           1   Vibratory Plow                   Ditch Witch    410‐SXw/hoe                           CG0001313          2015
           1   Vibratory Plow                   Ditch Witch    410‐SXw/hoe                           YG0001314          2015
           1   Vibratory Plow                   Ditch Witch    410‐SX                                   4S0575          2000
           1   Vibratory Plow                   Ditch Witch    410‐SX                                  4W0213           2002
           1   Vibratory Plow                   Ditch Witch    410‐SX                                   4X0033          2003
           1   Vibratory Plow                   Ditch Witch    410‐SX                                   4X0019          2003
           1   Vibratory Plow                   Ditch Witch    255‐SX                                   4Y0013          2004
           1   Vibratory Plow                   Ditch Witch    410‐SX                                   4Y0180          2004
           1   Vibratory Plow                   Ditch Witch    410‐SX                                   4Z0089          2005
           1   Vibratory Plow                   Ditch Witch    410‐SX                                  6000239          2006
           1   Vibratory Plow                   Ditch Witch    410‐SX                                  7000492          2007
           1   Vibratory Plow                   Ditch Witch    420‐SX                                  7000023          2007
           1   Light Tower                      Wacker         LT4                                    763501548         1997
           1   Light Tower                      Wacker         LT4                                    763501864         1997
           1   Generator                        Airman         60‐Watt SDG60S                        1473A20062         1999
           1   Forklift                         CDS            706D                                       4274          1983
           1   Forklift                         JCB            504B Loadall                      SLP504BOSE0278640      1996
           1   Forklift                         Hyster         H155XL                               F006A03049J         1998
           1   Sweeper                          Laymor         Sweeper SM300                             35132          2015
           1   Roller                           Wacker         RD‐880                               10170000218         1994
           1   Roller                           Multiquip      V‐30‐4H                                  250602          2005
           1   Roller                           Rammax         P33‐24 HHM                              1536197          2005
           1   Mixer                            Multiquip      WM120SHHD                               1410015          2015
           1   Mixer                            Rammax         MN95H240                         3A9S28M10F1168060       2015
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KLINE CONSTRUCTION CO., INC.
19‐25757‐JNP
SCHEDULE A/B, LINE 50

Quantity                      Type            Manufacturer                       Model No.          Serial No.   Year/Age
           1   Screener                       EZ Screen      500XL Screener                          DL1545           2005
           1   Loader                         Takeuchi       TL‐140                                 21405639          2007
           1   Wheel Loader                   CAT            938K                                  SWL04124           2015
           1   Dozer                          CAT            D4K2LGP                               OKRR00596          2015
           1   Backhoe                        CAT            420F‐IT                                JWJ03248          2015
           1   Backhoe                        CAT            430E‐IT                               DDT00486           2007
           1   Backhoe                        CAT            420E‐IT                               DAN02084           2012
           1   Backhoe                        New Holland    LB75B                                  31043865          2004
           1   Backhoe                        New Holland    LB75B                                  31046741          2004
           1   Backhoe                        Kubota         L‐45                                     51844           2014
           1   Backhoe                        CAT            420F‐IT                                JWJ02851          2015
           1   Backhoe                        CAT            430D‐IT                               BML04975           2004
           1   Backhoe                        Allman         TBL‐220                                27T20005          2005
           1   Backhoe                        CAT            420F                                   SKR02195          2013
           1   Backhoe                        CAT            420F‐IT                                JWJ03192          2015
           1   Backhoe                        CAT            420F‐IT                                JWJ03199          2015
           1   Mini Tractor Backhoe           Kubota         B21                                      64022           2005
           1   Mini Tractor Backhoe           Kubota         B21                                      63222           2005
           1   Backhoe                        Kubota         L39                                      62999           2006
           1   Backhoe                        CAT            420F2‐IT                              HWD00242           2015
           1   Backhoe                        John Deere     310SL                                   284436           2015
           1   Backhoe                        John Deere     310SL                                   316142           2017
           1   Backhoe                        John Deere     310SL                                   316147           2017
           1   Mini Tractor Backhoe           Kubota         B26                                      51776           2008
           1   Mini Tractor Backhoe           Kubota         B21                                      64075           2005
           1   Excavator                      John Deere     135D                                    302396           2011
           1   Excavator                      CAT            313B‐CR                                AEX00540
           1   Truck Lift                     Mohawk         24,000lb mobile column electric
           1   Truck Lift                     Mohawk         24,000lb mobile column electric
           1   Fusion Machine                                                                        34933
           1   Fusion Machine                                                                        20610
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KLINE CONSTRUCTION CO., INC.
19‐25757‐JNP
SCHEDULE A/B, LINE 50

Quantity                           Type         Manufacturer                      Model No.                         Serial No.   Year/Age
           1   Fusion Machine                                                                                        33683
           1   Fusion Machine                                                                                        33685
           1   Fusion Machine                                                                                        33689
           1   Fusion Machine                                                                                       9560665
           1   Fusion Machine                                                                                        34934
           1   Fusion Machine                                                                                       9650664
           1   Fusion Machine                                                                                       9690003
           1   Fusion Machine                                                                                       9680001
           1   Fusion Machine                                                                                        349936
           1   Directional Drill                Ditch Witch    JT30                                            DWPJT30XLJ0000302      2018
           1   Excavator                        CAT            325FLCR                                             0NDJ20227          2018
           1   Concrete Saw                     Stihl          TS420 Cutquik Concrete Saw                                             2013
           1   Air Compressor                   Sullivan                                                   185        33781           2016
           1   Air Compressor                   Sullivan                                                   185       100768           2013
           1   Air Compressor                   Sullivan                                                   185       101626           2013
           1   Arrowboard                       Wanco          Solar WTSP55                                    5F12S101SE1003313      2007
           1   Arrowboard                       Wanco          Solar WTSP55                                    5F11S101181004588      2008
           1   Forklift                         Terex          SS842                                                 992477           1998
           1   Excavator                        John Deere     135D                                                                   2011
           1   Excavator                        CAT            313B‐CR                                                                1997
           1   Misc Equipment                   Group          Tools,Jackhammers,Tampers, shop equip,etc                             Various
           1   Tar Pot/Kettle                   Aeroil         TAR‐POT/KETTLE                                         17131           1999
           1   Directional Drill                Ditch Witch    JT‐6 2020                                       1DSB323N8517Z2134      2005
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           Heavy Equipment (book value) - see attached
           list                                                                    $2,976,166.00                                     $2,976,166.00




 51.       Total of Part 8.                                                                                                     $11,207,591.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 124 Main Street,
                     South Amboy, NJ
                     08879                                Lease                        Unknown                                            Unknown


           55.2.     482 Houses Corner
                     Road, Sparta, NJ
                     07871                                Lease                        Unknown                                            Unknown


           55.3.     456 West
                     Commodore Blvd.,
                     Jackson, NJ 08527                    Lease                        Unknown                                            Unknown


           55.4.
                     240 Waveland Ave.,
                     Galloway, NJ 08205                   Lease                        Unknown                                            Unknown


           55.5.     238 E. Waveland
                     Ave., Galloway, NJ
                     08205                                Lease                        Unknown                                            Unknown


           55.6.
                     243 Waveland Ave.,
                     Galloway, NJ                         Lease                        Unknown                                            Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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 56.        Total of Part 9.                                                                                                                      $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
                                                                               1,725.00 -                             1,725.00 =
            Loan to former employee - Ms. Kern                        Total face amount     doubtful or uncollectible amount                         $0.00


            Loan to former employee - Ms.                                     11,000.00 -                            11,000.00 =
            Tochterman                                                Total face amount     doubtful or uncollectible amount                         $0.00



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                                     $0.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 5
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            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 6
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 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $192,343.18

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,841,816.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $400,957.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $191,940.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                $11,207,591.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                       $13,834,647.18             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $13,834,647.18




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 7
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 Fill in this information to identify the case:

 Debtor name          Kline Construction Co., Inc.

 United States Bankruptcy Court for the:            NEW JERSEY

 Case number (if known)              19-25757-JNP
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Altec Capital Services, LLC                   Describe debtor's property that is subject to a lien                    Unknown                  Unknown
        Creditor's Name                               All Altec leased and/or financed equipment
        33 Inverness Center Pkwy.
        Suite 200
        Birmingham, AL
        35242-4842
        Creditor's mailing address                    Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        6/21/18                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    Axis Capital, Inc.                            Describe debtor's property that is subject to a lien                    Unknown                  Unknown
        Creditor's Name                               Leased Equipment
        308 N. Locust Street, Suite
        100
        Grand Island, NE 68801
        Creditor's mailing address                    Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        6/6/15                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply


Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 15
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        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3   Axis Capital, Inc.                             Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                Equipment
       308 N. Locust Street, Suite
       100
       Grand Island, NE 68801
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       2/8/16                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



       Caterpillar Financial
 2.4                                                  Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Services Corporati
       Creditor's Name                                Caterpillar 938K Wheel Loader
       2120 West End Avenue
       Nashville, TN 37203
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       5/12/15                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.




 2.5
       Caterpillar Financial
       Services Corporati                             Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                Caterpillar 420FIT Backhoe Loader
       2120 West End Avenue
       Nashville, TN 37203
       Creditor's mailing address                     Describe the lien
                                                      UCC-1



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 2 of 15
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                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       12/29/15                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



       Caterpillar Financial
 2.6                                                                                                                           Unknown         Unknown
       Services Corporati                             Describe debtor's property that is subject to a lien
       Creditor's Name                                Caterpillar 420FIT Backhoe Loader
       2120 West End Avenue
       Nashville, TN 37203
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       1/5/16                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.




 2.7
       Caterpillar Financial
       Services Corporati                             Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                Caterpillar 420FIT B ackhoe Loader
       2120 West End Avenue
       Nashville, TN 37203
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       1/21/16                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 3 of 15
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 2.8
       Caterpillar Financial
       Services Corporati                             Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                Caterpillar 325FLCR Hydraulic Excavator
       2120 West End Avenue
       Nashville, TN 37203
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       7/13/18                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.9   CIT Bank, N.A.                                 Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                2018 Rampant Trailer
       155 Commerce Way
       Attn: Amy Lavoie
       Portsmouth, NH 03801
       Creditor's mailing address                     Describe the lien
                                                      Certificate of Title
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1   Ditch Witch Financial
 0     Services                                       Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                Ditch Witch 410SX Vibratory Plows
       475 Sansome Street, 19th
       Fl
       NC-TR1-19-A
       San Francisco, CA 94111
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?



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       Date debt was incurred                          No
       1/14/16                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1   Ditch Witch Financial
 1     Services                                       Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                Ditch Witch Single Frequency Tracker
       475 Sansome Street, 19th                       Packages TK Tracker
       Fl
       NC-TR1-19-A
       San Francisco, CA 94111
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       5/26/16                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1   Ditch Witch Financial
 2     Services                                       Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                Ditch Witch Peak Receiers 150RP/150TX
       475 Sansome Street, 19th
       Fl
       NC-TR1-19-A
       San Francisco, CA 94111
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       7/22/16                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.




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 2.1   Ditch Witch Financial
 3     Services                                       Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                New Ditch Witch JT20 Directional Drill
       475 Sansome Street, 19th
       Fl
       NC-TR1-19-A
       San Francisco, CA 94111
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       10/7/16                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1   Ditch Witch Financial
 4     Services                                       Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                New Ditch Witch Electronics TK Recon2
       475 Sansome Street, 19th
       Fl
       NC-TR1-19-A
       San Francisco, CA 94111
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       5/18/17                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1   Ford Motor Credit
 5     Company LLC                                    Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                2016 Ford F750
       PO Box 680020 MD 610
       Franklin, TN 37068
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?


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       Date debt was incurred                          No
       10/6/16                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1   Ford Motor Credit
 6     Company LLC                                    Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                Ford F-750
       PO Box 680020 MD 610
       Franklin, TN 37068
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       10/6/16                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1   John Deere Construction &
 7     Forestry Co                                    Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                3 John Deere 310S Wheel Loader Backhoes
       6400 NW 86th Street
       Johnston, IA 50131
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       8/8/17                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1   John Deere Construction &
 8     Forestry Co                                    Describe debtor's property that is subject to a lien                     Unknown         Unknown


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       Creditor's Name                                Ditch Witch JT30 Drill
       6400 NW 86th Street
       Johnston, IA 50131
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       6/4/18                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1
 9     Magyar Bank                                    Describe debtor's property that is subject to a lien                 $4,298,825.00         Unknown
       Creditor's Name

       400 Somerset Street
       New Brunswick, NJ 08901
       Creditor's mailing address                     Describe the lien
                                                      SBA Loan
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       11/16/2017                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.2
 0     Magyar Bank                                    Describe debtor's property that is subject to a lien                     $597,420.00       Unknown
       Creditor's Name

       400 Somerset Street
       New Brunswick, NJ 08901
       Creditor's mailing address                     Describe the lien
                                                      Promissory Note, Security Agreement
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       11/17/2017                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number




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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.2
 1     Marlin Business Bank                           Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                Mack Cab and Chassis
       2795 E Cottonwood Pkwy
       Salt Lake City, UT 84121
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       5/1/15                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.2
 2     Marlin Business Bank                           Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                Coil Pipe Trailer
       2795 E Cottonwood Pkwy
       Salt Lake City, UT 84121
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       5/7/15                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.2
 3     Navitas Credit Corp.                           Describe debtor's property that is subject to a lien                     Unknown         Unknown




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              Name

       Creditor's Name                                Equipment/Personal Property
       201 Executive Center Drive,
       Suite 100
       Attn: Leghton Bost,
       Recovery/Legal Mgr.
       Columbia, SC 29210
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       12/6/17                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.2
 4     Navitas Lease Corp ISAOA                       Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                2005 Ford Truck
       111 Executive Center Drive,
       Suite 102
       Columbia, SC 29210
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       8/26/16                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.2
 5     Navitas Lease Corp ISAOA                       Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                2001 Ford Truck, 2006 Ford Truck, 2008 Ditch
       111 Executive Center Drive,                    Witch JT1220 Mach 1 Directional Drill
       Suite 102
       Columbia, SC 29210
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       11/11/16                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.2
 6     PACCAR Financial Corp.                         Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                2018 Peterbilt 567
       PO Box 1518
       Attn: Linda Markle, BK
       Specialist
       Bellevue, WA 98009
       Creditor's mailing address                     Describe the lien
                                                      Certificate of Title
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.2
 7     Prestige Capital                               Describe debtor's property that is subject to a lien                 $1,005,194.49       Unknown
       Creditor's Name                                All Assets of the Debtor
       400 Kelby Street, 10th Floor
       Fort Lee, NJ 07024
       Creditor's mailing address                     Describe the lien
                                                      Purchase and Sale Agreement
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       8/31/18                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.2
 8     TD Equipment Financing                         Describe debtor's property that is subject to a lien                     Unknown         Unknown



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       Creditor's Name                                Equipment
       1006 Astoria Boulevard
       Cherry Hill, NJ 08034
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       1/26/15                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.2   Toyota Industries
 9     Commercial Finance, In                         Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                One 2016 HINO 155
       PO Box 9050
       Dallas, TX 75019-9050
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       5/24/16                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3   Toyota Industries
 0     Commercial Finance, In                         Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                New 2017 HINO 155
       PO Box 9050
       Dallas, TX 75019-9050
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       7/13/17                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number




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              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3   Toyota Industries
 1     Commercial Finance, In                         Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                2007 Mitsubishi FE140
       PO Box 9050
       Dallas, TX 75019-9050
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       12/26/17                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3   Toyota Industries
 2     Commercial Finance, In                         Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                2017 268A
       PO Box 9050
       Dallas, TX 75019-9050
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       12/26/17                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3   Toyota Industries
 3     Commercial Finance, In                         Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                HINO 268A
       PO Box 9050
       Dallas, TX 75019-9050
       Creditor's mailing address                     Describe the lien


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 13 of 15
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 Debtor       Kline Construction Co., Inc.                                                             Case number (if know)    19-25757-JNP
              Name

                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       12/26/17                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3   Toyota Industries
 4     Commercial Finance, In                         Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                2006 HINO 268A
       PO Box 9050
       Dallas, TX 75019-9050
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       12/26/17                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3   Toyota Industries
 5     Commercial Finance, In                         Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                New 2019 Ford F450
       PO Box 9050
       Dallas, TX 75019-9050
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       3/4/19                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.




                                                                                                                         $5,901,439.4
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                    9

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Barry J. Roy, Esq.
        Rabinowitz, Lubetkin & Tully LLC                                                                  Line   2.27
        293 Eisenhower Parkway, Suite 100
        Livingston, NJ 07039

        Deirdre M. Richards, Esquire
        Fineman Krekstein & Harris PC                                                                     Line   2.26
        1801 Market Street, Suite 1100
        Philadelphia, PA 19103

        McCarter & English, LLP
        Four Gateway Center                                                                               Line   2.19
        100 Mulberry Street
        Newark, NJ 07102

        McCarter & English, LLP
        Four Gateway Center                                                                               Line   2.20
        100 Mulberry Street
        Newark, NJ 07102




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 Fill in this information to identify the case:

 Debtor name         Kline Construction Co., Inc.

 United States Bankruptcy Court for the:            NEW JERSEY

 Case number (if known)          19-25757-JNP
                                                                                                                                               Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $34,080.40          Unknown
           Anthony Grochowski                                        Check all that apply.
           1309 Weymouth Road                                         Contingent
           Vineland, NJ 08360                                         Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Potential Employee Claims
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $31,613.94          Unknown
           Chris Van Horn                                            Check all that apply.
           8 Northwood Ave                                            Contingent
           Egg Harbor Township, NJ 08234                              Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number Potential                 Is the claim subject to offset?
           Employee Claims                                            No
           Specify Code subsection of PRIORITY                        Yes
           unsecured claim: 11 U.S.C. § 507(a) (5)




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              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $14,990.46    Unknown
          Christopher Freeman                                        Check all that apply.
          519 Falcon Drive                                            Contingent
          Absecon, NJ 08201                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $35,817.14    Unknown
          Craig Sabbath                                              Check all that apply.
          473 Chestnut Neck Road                                      Contingent
          Port Republic, NJ 08241                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $13,714.29    Unknown
          Daniel Mitchell                                            Check all that apply.
          c/o Frank Rocco Schirripa, Esq                              Contingent
          Hach Rose                                                   Unliquidated
          112 Madison Ave, 10th Fl
          New York, NY 10016                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     McBride Litigation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $10,386.95    Unknown
          David Gandy                                                Check all that apply.
          163 S. Main St.                                             Contingent
          POB 44                                                      Unliquidated
          Elmer, NJ 08318
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 47
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              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $14,536.53    Unknown
          David Trujillo                                             Check all that apply.
          4838 Bayberry Place                                         Contingent
          Mays Landing, NJ 08330                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $13,900.29    Unknown
          Derek Bush                                                 Check all that apply.
          109 Birch Ave                                               Contingent
          Egg Harbor Township, NJ 08234                               Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $13,653.79    Unknown
          Domenic Mazza                                              Check all that apply.
          507 wilber Ave                                              Contingent
          Hammonton, NJ 08037                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $35,544.95    Unknown
          Donald Taylor                                              Check all that apply.
          c/o Frank Rocco Schirripa, Esq.                             Contingent
          Hach Rose                                                   Unliquidated
          112 Madison Ave, 10th Fl
          New York, NY 10016                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes




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 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $16,996.07     Unknown
          Fredrick Muchler                                           Check all that apply.
          3017 Coles Mill Road                                        Contingent
          Franklinville, NJ 08322                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Annuity Pension Owed
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $1,411,339.00    Unknown
          Internal Revenue Service                                   Check all that apply.
          PO Box 7346                                                 Contingent
          Philadelphia, PA 19101-7346                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $19,630.73     Unknown
          James Grams                                                Check all that apply.
          2495 Tremont Ave                                            Contingent
          Egg Harbor Township, NJ 08234                               Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,102.40     Unknown
          Jason Houck                                                Check all that apply.
          109 Birch Ave                                               Contingent
          Egg Harbor Township, NJ 08234                               Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes




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 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $12,034.58    Unknown
          Jay Shaner                                                 Check all that apply.
          15 Isaacs Ln                                                Contingent
          Egg Harbor Township, NJ 08234                               Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $18,954.65    Unknown
          Jeremy King                                                Check all that apply.
          127 Cape May Ave                                            Contingent
          Estell Manor, NJ 08319                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,050.20    Unknown
          Joanee Scarpa                                              Check all that apply.
          124 E. Linden Ave                                           Contingent
          Collingswood, NJ 08108                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $21,641.74    Unknown
          John Beverly                                               Check all that apply.
          c/o Frank Rocco Schirripa, Esq.                             Contingent
          Hach Rose                                                   Unliquidated
          112 Madison Ave., 10th Fl
          New York, NY 10016                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     McBride Litigation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes




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 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $24,043.31    Unknown
          John Kuchinski                                             Check all that apply.
          227 Twin Lake Blvd.                                         Contingent
          Grenloch, NJ 08032                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $16,923.65    Unknown
          Jonathan Smith                                             Check all that apply.
          5702 Birch St                                               Contingent
          Mays Landing, NJ 08330                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,026.40    Unknown
          Jose Aponte Gonzalez                                       Check all that apply.
          412 N. Elberon Ave                                          Contingent
          Atlantic City, NJ 08401                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,653.00    Unknown
          Joseph Shaw                                                Check all that apply.
          703 10th Street                                             Contingent
          Somers Point, NJ 08244                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes




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 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $995.00    Unknown
          Joshua Cassel                                              Check all that apply.
          (Debtor has no record of address)                           Contingent
                                                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $27,128.77    Unknown
          Juan Lopez                                                 Check all that apply.
          c/o Frank Rocco Schirripa, Esq                              Contingent
          Hach Rose                                                   Unliquidated
          112 Madison Ave
          New York, NY 10016                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     McBride Litigation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $325.45    Unknown
          Justin McNamara                                            Check all that apply.
          569 Michigan Ave                                            Contingent
          Brick, NJ 08724                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,192.00    Unknown
          Karolyn Tochterman                                         Check all that apply.
          13 N. Curran Dr                                             Contingent
          Absecon, NJ 08201                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes




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 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $8,360.00    Unknown
          Katherine M. Penate                                        Check all that apply.
          700 Chelsea Road                                            Contingent
          Absecon, NJ 08201-1621                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $31,514.60    Unknown
          Kevin Cunningham                                           Check all that apply.
          c/o Frank Rocco Schirripa, Esq                              Contingent
          Hach Rose                                                   Unliquidated
          112 Madison Ave., 10th Fl
          New York, NY 10016                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     McBride Litigation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,841.00    Unknown
          Kevin Kline                                                Check all that apply.
          317 Seventh Ave., Number 6                                  Contingent
          Asbury Park, NJ 07712                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,851.65    Unknown
          Kyle Newman                                                Check all that apply.
          1220 Middle Ave                                             Contingent
          Waterford Works, NJ 08089                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes




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 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $36,229.21    Unknown
          Manuel Martinez                                            Check all that apply.
          c/o Frank Rocco Schirripa, Esq                              Contingent
          Hach Rose                                                   Unliquidated
          112 Madison Ave., 10th Fl
          New York, NY 10016                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     McBride Litigation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,178.60    Unknown
          Mark Chew                                                  Check all that apply.
          439 Hurffville Grenloch Rd                                  Contingent
          Sewell, NJ 08080                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                      Yes

 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $12,337.50    Unknown
          Mark Kraly                                                 Check all that apply.
          POB 731                                                     Contingent
          Absecon, NJ 08201                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $12,645.48    Unknown
          Mark Puterbaugh, Sr.                                       Check all that apply.
          137 Jordan Rd                                               Contingent
          Somers Point, NJ 08244                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes




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 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $16,288.30    Unknown
          Michael Harrell                                            Check all that apply.
          9 Pine Oak Dr                                               Contingent
          Atco, NJ 08004                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $23,371.93    Unknown
          Michael Hayes                                              Check all that apply.
          526 8th Ave                                                 Contingent
          Absecon, NJ 08205                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $18,306.12    Unknown
          Michael Veneziale                                          Check all that apply.
          c/o Frank Rocco Schirripa, Esq.                             Contingent
          Hach Rose                                                   Unliquidated
          112 Madison Ave., 10th Fl
          New York, NY 10016                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     McBride Litigation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,017.63    Unknown
          Miguel Guzman III                                          Check all that apply.
          432 N. Harding Highway                                      Contingent
          Vineland, NJ 08360                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes




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 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $198.10    Unknown
          Nick Levinson                                              Check all that apply.
          4299 Herbert Dr                                             Contingent
          Northfield, NJ 08225                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $812,117.37    Unknown
          NJ Dept. of Labor and Workforce                            Check all that apply.
          Dev.                                                        Contingent
          Division of Employer Accounts                               Unliquidated
          PO Box 379                                                  Disputed
          Attn: Barry Lafranco
          Trenton, NJ 08625
          Date or dates debt was incurred                            Basis for the claim:
          5/23/18                                                    Judgment (DJ-082484-2018)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $213,563.09    Unknown
          NJ Dept. of Labor and Workforce                            Check all that apply.
          Dev.                                                        Contingent
          Division of Employer Accounts                               Unliquidated
          PO Box 379                                                  Disputed
          Attn: Barry Lafranco
          Trenton, NJ 08625-0379
          Date or dates debt was incurred                            Basis for the claim:
          2/27/19                                                    Judgment (DJ-026410-2019)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      Unknown
          NJ Division of Taxation                                    Check all that apply.
          Pioneer Credit Recovery                                     Contingent
          PO Box 1009                                                 Unliquidated
          Moorestown, NJ 08057-0909                                   Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $665.05    Unknown
          Norman Gordy                                               Check all that apply.
          298 W. Bayview Ave                                          Contingent
          Pleasantville, NJ 08232                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $24,020.35    Unknown
          Richard McBride                                            Check all that apply.
          Attn: Frank Rocco Schirripa, Esq.                           Contingent
          Hach Rose Schirripa & Cheverie                              Unliquidated
          LLP
          112 Madison Avenue, 10th Floor                              Disputed
          New York, NY 10016
          Date or dates debt was incurred                            Basis for the claim:
                                                                     McBride Litigation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,304.06    Unknown
          Robert Lieberwirth                                         Check all that apply.
          459 13th Street                                             Contingent
          Hammonton, NJ 08037                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $14,812.00    Unknown
          Robert Miller, Sr.                                         Check all that apply.
          823 3rd St.                                                 Contingent
          Somers Point, NJ 08244                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes




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 2.47     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $33,624.06    Unknown
          Ryan Fennal                                                Check all that apply.
          c/o Frank Rocco Schirripa, Esq.                             Contingent
          Hach Rose                                                   Unliquidated
          112 Madison Ave, 10th Fl
          New York, NY 10016                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     McBride Litigation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.48     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $35,155.91    Unknown
          Ryan Short                                                 Check all that apply.
          c/o Frank Rocco Schirripa, Esq                              Contingent
          Hach Rose                                                   Unliquidated
          112 Madison Ave, 10th Fl
          New York, NY 10016                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     McBride Litigation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.49     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,779.35    Unknown
          Scott Seibert                                              Check all that apply.
          155 Woodlynne Ave                                           Contingent
          Pitman, NJ 08071                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.50     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,391.90    Unknown
          Shaun Hargraves                                            Check all that apply.
          112 Fornataro Ave                                           Contingent
          Vineland, NJ 08360                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes




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 2.51     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $30,263.33    Unknown
          Steven Gossage, Jr.                                        Check all that apply.
          29 Koch Ave                                                 Contingent
          Egg Harbor City, NJ 08215                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Litigation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.52     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $30,415.61    Unknown
          Thomas Dockery                                             Check all that apply.
          2642 S. 8th St                                              Contingent
          Philadelphia, PA 19148                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Litigation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.53     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      Unknown
          Thomas Monzo                                               Check all that apply.
          c/o Frank Rocco Schirripa, Esq.                             Contingent
          Hach Rose Schirripa & Cheverie                              Unliquidated
          LLP
          112 Madison Ave, 10th Fl                                    Disputed
          New York, NY 10016
          Date or dates debt was incurred                            Basis for the claim:
                                                                     McBride Litigation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.54     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $39,940.06    Unknown
          Victor Lamson                                              Check all that apply.
          c/o Frank Rocco Schirripa, Esq                              Contingent
          Hach Rose                                                   Unliquidated
          112 Madison Ave, 10th Fl
          New York, NY 10016                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     McBride Litigation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes




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 2.55     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $18,727.57    Unknown
          Wayne Grove                                                Check all that apply.
          c/o Frank Rocco Schirripa, Esq                              Contingent
          Hach Rose                                                   Unliquidated
          112 Madison Ave, 10th Fl
          New York, NY 10016                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     McBride Litigation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.56     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,200.00    Unknown
          William H. Kline Jr.                                       Check all that apply.
          2550 Harbour Cove Road                                      Contingent
          Hutchinson, FL 34949                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.57     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $25,740.00    Unknown
          William M. Kline                                           Check all that apply.
          449 Sea Horse Road                                          Contingent
          Brigantine, NJ 08203                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Potential Employee Claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.58     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      Unknown
          William Monzo                                              Check all that apply.
          176 E. Pump Branch                                          Contingent
          Waterford Works, NJ 08089                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     McBride Litigation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes




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 2.59       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                  $15,869.28        Unknown
            William Newman                                           Check all that apply.
            c/o Frank Schirripa, Esq.                                 Contingent
            Hach Rose                                                 Unliquidated
            112 Madison Ave, 10th Fl
            New York, NY 10016                                        Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     McBride Litigation
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.60       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                        $901.70     Unknown
            William Nolan, III                                       Check all that apply.
            238 40th St                                               Contingent
            Brigantine, NJ 08203                                      Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Potential Employee Claims
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.61       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $2,982.48    Unknown
            Zane Layton                                              Check all that apply.
            530 Fishpond Rd                                           Contingent
            Glassboro, NJ 08028                                       Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Potential Employee Claims
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes


 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $2,200.00
           A-Jack's Towing & Recovery/Auto & Truck                                  Contingent
           1107 N. Tuckahoe Rd.                                                     Unliquidated
           Williamstown, NJ 08094                                                   Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes




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 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,067.57
          A.E. Stone, Inc.                                                    Contingent
          1435 Doughty Rd.                                                    Unliquidated
          Egg Harbor Township, NJ 08234                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,158.48
          Able Equipment Rental                                               Contingent
          1050 Grand Blvd.                                                    Unliquidated
          Deer Park, NY 11729                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,714.00
          AC Kobie Electrical                                                 Contingent
          2623 6th Ave.                                                       Unliquidated
          Hammonton, NJ 08037                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $48,445.38
          Ace Oil Co.                                                         Contingent
          150 North Chew Rd.                                                  Unliquidated
          Hammonton, NJ 08037                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,001.70
          Advance Auto Parts                                                  Contingent
          POB 742063                                                          Unliquidated
          Atlanta, GA 30374-2063                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,632.27
          Al & Rich's                                                         Contingent
          90 N. White Horse Pk.                                               Unliquidated
          Hammonton, NJ 08037                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $59,863.00
          All Cable Construction, LLC                                         Contingent
          POB 720                                                             Unliquidated
          Sicklerville, NJ 08081                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,034.41
          Alldata                                                             Contingent
          POB 848379                                                          Unliquidated
          Dallas, TX 75284                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,677.51
          Altec Industries, Inc.                                              Contingent
          210 Inverness Center Dr.                                            Unliquidated
          Birmingham, AL 35242                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,013.23
          Altec Nueco                                                         Contingent
          POB 2153                                                            Unliquidated
          Dept 3251                                                           Disputed
          Birmingham, AL 35287
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,686.47
          American Asphalt Company, Inc.                                      Contingent
          116 Main St.                                                        Unliquidated
          W. Collingswood Hgts., NJ 08059                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          American Express                                                    Contingent
          POB 1270                                                            Unliquidated
          Newark, NJ 07101-1270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          American II, Inc.                                                   Contingent
          3135 Rt. 50                                                         Unliquidated
          Mays Landing, NJ 08330                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $116,203.07
          Ashcam Engineering Group                                            Contingent
          Construction LLC                                                    Unliquidated
          63 2nd Ave., Ste. 2                                                 Disputed
          Trenton, NJ 08619
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,595.00
          Ashley's Landscaping Construction                                   Contingent
          429 Peach St.                                                       Unliquidated
          Hammonton, NJ 08037                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $159.94
          Associated Truck Parts                                              Contingent
          1075 East Philadelphia Ave.                                         Unliquidated
          Gilbertsville, PA 19525                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,528.05
          Atlantic City Electric                                              Contingent
          5 Collins Drive, Ste 2133                                           Unliquidated
          Carneys Point, NJ 08069                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $16,812.42
          Atlantic Concrete Products Inc.                                     Contingent
          8900 Old Rte. 13                                                    Unliquidated
          POB 129                                                             Disputed
          Bristol, PA 19007-0098
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $171.20
          Atlantic Prime Turf LLC                                             Contingent
          404 E. Evans Blvd.                                                  Unliquidated
          Brigantine, NJ 08203                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $200.44
          Atlas Flasher & Supply Co., Inc.                                    Contingent
          POB 488                                                             Unliquidated
          Hereford, PA 18056-1208                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,854.45
          Auto Zone Store #4785                                               Contingent
          475 White Horse Pk.                                                 Unliquidated
          Absecon, NJ 08201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          Aztec Materials, LLC                                                Contingent
          POB 457                                                             Unliquidated
          Hatboro, PA 19040                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          Badger Daylighting Corp                                             Contingent
          PO Box 95000                                                        Unliquidated
          Philadelphia, PA 19195                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $698.80
          Bank of America                                                     Contingent
          POB 538625                                                          Unliquidated
          Atlanta, GA 30353-8625                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,446.59
          Barrett Asphalt Corporation                                         Contingent
          7503 Weymouth Rd.                                                   Unliquidated
          Hammonton, NJ 08037                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $130.42
          Batteries Plus Bulbs                                                Contingent
          900 TIlton Rd.                                                      Unliquidated
          Suite 3                                                             Disputed
          Northfield, NJ 08225
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,349.94
          Bentley Truck Services, Inc.                                        Contingent
          307 Heron Dr.                                                       Unliquidated
          Swedesboro, NJ 08085                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,126.00
          Berco Inc.                                                          Contingent
          5030 East Landis Ave.                                               Unliquidated
          Vineland, NJ 08360                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $215.62
          Blue Diamond Inc.                                                   Contingent
          POB 267                                                             Unliquidated
          Succasunna, NJ 07876                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,185.00
          Borough of Audubon                                                  Contingent
          606 W Nicholson Rd.                                                 Unliquidated
          Audubon, NJ 08106                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $800.00
          Borough of Cape May Point                                           Contingent
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $34.50
          Borough of Clayton                                                  Contingent
          125 North Delsea Dr.                                                Unliquidated
          Clayton, NJ 08312                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,685.00
          Borough of Runnemede                                                Contingent
          24 N Black Horse Pk.                                                Unliquidated
          Runnemede, NJ 08078                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,325.51
          Bridgestate Foundry Corp.                                           Contingent
          175 Jackson Rd.                                                     Unliquidated
          Berlin, NJ 08009                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,196.00
          Brothers Contreras LLC                                              Contingent
          444 Buffalo Ave.                                                    Unliquidated
          Egg Harbor City, NJ 08215                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $180.00
          Burlington Safety                                                   Contingent
          POB 1402                                                            Unliquidated
          2009 Route 130                                                      Disputed
          Burlington, NJ 08016
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $188.00
          Butterholf's Farm & Home Supply                                     Contingent
          5715 White Horse Pike                                               Unliquidated
          Egg Harbor City, NJ 08215                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,333.37
          C W Sales Corporation                                               Contingent
          199 South Forrest Ave.                                              Unliquidated
          Norristown, PA 19401-5205                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $336.94
          Cam Co.                                                             Contingent
          Egg Harbor Industrial Pk.                                           Unliquidated
          1310 Havana Ave.                                                    Disputed
          Egg Harbor City, NJ 08215
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,650.00
          Camden County Police Department                                     Contingent
          500 Federal St.                                                     Unliquidated
          Camden, NJ 08101                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $935.87
          Cape Digital Services, LLC                                          Contingent
          5 Taylor Ln.                                                        Unliquidated
          Cape May, NJ 08204                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,026.23
          Carney's Point Township Police Departmen                            Contingent
          Attn: Finance Office                                                Unliquidated
          303 Harding Hwy.                                                    Disputed
          Penns Grove, NJ 08069
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $56,126.17
          Cartaynic Inc.                                                      Contingent
          1916 Merrimac Dr.                                                   Unliquidated
          Toms River, NJ 08753
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,693.76
          Caterina Supply, Inc.                                               Contingent
          1271 Glassboro Rd.                                                  Unliquidated
          Williamstown, NJ 08094                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $85.00
          CCLENJ                                                              Contingent
          UTCA                                                                Unliquidated
          POB 4058                                                            Disputed
          Allenwood, NJ 08720
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $242.52
          Certified Laboratories                                              Contingent
          23261 Network Place                                                 Unliquidated
          Chicago, IL 60673-1232                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $246.85
          Chapman Ford Sales, Inc.                                            Contingent
          6750 Black Horse Pike                                               Unliquidated
          Egg Harbor Township, NJ 08234                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,630.30
          Chiesa Shahinian & Giantomasi PC                                    Contingent
          1 Boland Dr.                                                        Unliquidated
          West Orange, NJ 07052                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $543.75
          City of Atlantic City                                               Contingent
          1301 Bachrach Blvd.                                                 Unliquidated
          Room 707                                                            Disputed
          Atlantic City, NJ 08401
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,420.00
          City of Wildwood                                                    Contingent
          3700 New Jersey Ave.                                                Unliquidated
          Wildwood, NJ 08260                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $660.00
          City of Woodbury                                                    Contingent
          33 Delaware St.                                                     Unliquidated
          POB 180                                                             Disputed
          Woodbury, NJ 08096
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $666.48
          Comcast                                                             Contingent
          POB 3001                                                            Unliquidated
          Southeastern, PA 19398-3001                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,000.00
          Concrete Cutting Systems Inc.                                       Contingent
          2512 Orthodox ST.                                                   Unliquidated
          Philadelphia, PA 19137                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $198.49
          Crab Trap                                                           Contingent
          POB 214                                                             Unliquidated
          Somers Point, NJ 08244                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $201.52
          Craig Auto Radiator Warehouse                                       Contingent
          POB 283                                                             Unliquidated
          Sewell, NJ 08080                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $163.61
          Daley's Pit                                                         Contingent
          356 Main St.                                                        Unliquidated
          POB 39                                                              Disputed
          South Seaville, NJ 08246
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $237,500.00
          David Cohen                                                         Contingent
          2200 Atlantic Avenue                                                Unliquidated
          Longport, NJ 08403                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,295.50
          Dennis Lasassa Jr. Plumbing LLC                                     Contingent
          895 12th St.                                                        Unliquidated
          Hammonton, NJ 08037                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,075.52
          Dimeglio Septic Inc.                                                Contingent
          491 S White Horse Pk.                                               Unliquidated
          Hammonton, NJ 08037                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,090.00
          DKD Property Management LLC                                         Contingent
          1014 WOodhill Ct.                                                   Unliquidated
          Williamstown, NJ 08094                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,000.00
          Drillers Service, Inc.                                              Contingent
          POB 403538                                                          Unliquidated
          Atlanta, GA 30384                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,222.89
          Earthech Contracting Inc.                                           Contingent
          2101 Rt. 610                                                        Unliquidated
          Woodbine, NJ 08270                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $374.62
          East Coast Terminals                                                Contingent
          267 Allen St.                                                       Unliquidated
          Springfield, MA 01108                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $727.84
          East Greenwich Police                                               Contingent
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $964.95
          Ed & Sons Glass Shop Inc.                                           Contingent
          619 E Main St.                                                      Unliquidated
          Maple Shade, NJ 08052                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,710.00
          Egg Harbor Twp Police Dept.                                         Contingent
          3515 Bargaintown Rd.                                                Unliquidated
          Egg Harbor Township, NJ 08234                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $960.00
          Elk Township Police                                                 Contingent
          680 Whig Lane Road                                                  Unliquidated
          Monroeville, NJ 08343                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $499.00
          Employment Publishing                                               Contingent
          175 Strafford Ave.                                                  Unliquidated
          Suite 1                                                             Disputed
          Wayne, PA 19087
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $660.00
          F.W. Webb Company                                                   Contingent
          160 Middlesex Turnpike                                              Unliquidated
          Bedford, MA 01730-1416                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $764.26
          Farm-Rite Inc.                                                      Contingent
          717 White Horse Pk.                                                 Unliquidated
          Hammonton, NJ 08037                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $315,544.10
          FCA Brothers Construction & Landscaping                             Contingent
          1289 N Mill Rd.                                                     Unliquidated
          Vineland, NJ 08360
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,623.58
          Ford Fleet Care                                                     Contingent
          Dept 121801                                                         Unliquidated
          POB 67000                                                           Disputed
          Detroit, MI 48267
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $156.95
          Francotyp-Postalia Mailing Solutions                                Contingent
          POB 157                                                             Unliquidated
          Bedford Park, IL 60499-0157                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,884.61
          Frank J. Fazzio & Sons, Inc.                                        Contingent
          458 Elwood Ave.                                                     Unliquidated
          Pitman, NJ 08071-1294                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $127,861.26
          G. Davis Cable Inc.                                                 Contingent
          306 Chelton Ave.                                                    Unliquidated
          Egg Harbor Township, NJ 08234
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Gloria Meehan and John Meehan
          c/o John M. Vlasac, Jr., Esq.                                       Contingent
          Vlasac & Shmaruk, LLC                                               Unliquidated
          485B Route 1 South, Suite 120                                       Disputed
          Iselin, NJ 08830
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $198.72
          Gold Metal Environmental                                            Contingent
          309 Salina Rd.                                                      Unliquidated
          Sewell, NJ 08080                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $940.50
          GPS International Technologies Inc.                                 Contingent
          105 W 25th St.                                                      Unliquidated
          Ste. L                                                              Disputed
          National City, CA 91950
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $534.00
          Greater Atlantic City Chamber                                       Contingent
          12 South Virginia Ave.                                              Unliquidated
          Atlantic City, NJ 08401                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,801.00
          Guenther's Napa Auto Center                                         Contingent
          407 S. New Road                                                     Unliquidated
          Pleasantville, NJ 08232                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $749.50
          Harrison Twp Police                                                 Contingent
          Attn: Sgt. Richard W. Malinoski                                     Unliquidated
          137 North Main St.                                                  Disputed
          Mullica Hill, NJ 08062
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,145.18
          Hayden's Towing and Repair Inc.                                     Contingent
          28 Demarest Rd.                                                     Unliquidated
          Sparta, NJ 07871                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $338.47
          Health & Welfare                                                    Contingent
          6981 N. Park Dr.                                                    Unliquidated
          Suite 400                                                           Disputed
          Merchantville, NJ 08109
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $98,851.55
          Henry's Grnd Hawg                                                   Contingent
          205 Washington Ave.                                                 Unliquidated
          Egg Harbor City, NJ 08215                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $13,696.80
          Hickok Communications, LLC                                          Contingent
          600 Route 9 North                                                   Unliquidated
          Cape May Court House, NJ 08210                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,390.00
          Holman Frenia Allison, P.C.                                         Contingent
          680 Hooper Ave.                                                     Unliquidated
          Bldg. B, Ste. 201                                                   Disputed
          Toms River, NJ 08753
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,417.32
          Home Depot Credit Services                                          Contingent
          2455 Paces Ferry Rd. NW                                             Unliquidated
          Atlanta, GA 30339                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,500.00
          Houpert Turck Service                                               Contingent
          POB 8                                                               Unliquidated
          Berlin, NJ 08009                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $332.04
          Huber Locksmith, Inc.                                               Contingent
          729 S. Main St.                                                     Unliquidated
          Pleasantville, NJ 08232                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,429.59
          Hunter Truck Sales & Service                                        Contingent
          2320 High Hill Rd.                                                  Unliquidated
          Swedesboro, NJ 08085                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $333,081.54
          IBEW Local 351 Pension Fund                                         Contingent
          c/o Steven J. Bushinsky, Esquire                                    Unliquidated
          509 S. Lenola Road, Bldg. 6
          Moorestown, NJ 08057                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,414.00
          Insurance Office of America                                         Contingent
          220 Lake Drive East                                                 Unliquidated
          Suite 304                                                           Disputed
          Cherry Hill, NJ 08002
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,920.00
          Intelligent Data Systems                                            Contingent
          275 Hillside Ave.                                                   Unliquidated
          Williston Park, NY 11596                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $475,607.00
          IUOE Local 825 Benefit Funds                                        Contingent
          65 Springfield Avenue, 2nd Floor                                    Unliquidated
          Springfield, NJ 07081
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          J. Mielchen Splicing                                                Contingent
          325 Chestnut Ave.                                                   Unliquidated
          Pleasantville, NJ 08232                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $375.00
          James R. Boney Associates                                           Contingent
          13 Stonemill Ct.                                                    Unliquidated
          Egg Harbor Township, NJ 08234                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,139.20
          Jan X-Ray Services Inc.                                             Contingent
          POB 29253                                                           Unliquidated
          New York, NY 10087-9253                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $207.89
          Jeff Milchen Jr.                                                    Contingent
          325 Chestnut Ave                                                    Unliquidated
          Pleasantville, NJ 08232                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,610.30
          Jerry's Auto Body, LLC                                              Contingent
          456 West Commodore Blvd.                                            Unliquidated
          Jackson, NJ 08527                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,547.75
          Jesco Inc.                                                          Contingent
          1260 Centennial Ave                                                 Unliquidated
          Piscataway, NJ 08854                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,993.12
          Jesper Engines                                                      Contingent
          POB 650                                                             Unliquidated
          Jasper, IN 47547-0650                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $212.50
          JRP Oil Service, Inc.                                               Contingent
          POB 756                                                             Unliquidated
          Swedesboro, NJ 08085                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,619.22
          Just Four Wheels, Inc.                                              Contingent
          POB 1086                                                            Unliquidated
          Absecon, NJ 08201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,332.79
          JV Installation Inc.                                                Contingent
          54 11th St.                                                         Unliquidated
          Toms River, NJ 08753                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $798.00
          K&S Comfort Works LLC                                               Contingent
          967 East Malaga Road                                                Unliquidated
          Williamstown, NJ 08094                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,955.00
          K-Con, LLC                                                          Contingent
          1500 Mays Landing Rd.                                               Unliquidated
          Hammonton, NJ 08037                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $61,216.23
          K. Moorea Co. d/b/a Traffic Plan                                    Contingent
          5300 Asbury Rd.                                                     Unliquidated
          Farmingdale, NJ 07727
                                                                              Disputed
          Date(s) debt was incurred 7/24/2019
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Kayla M. and Paul Gabadian
          c/o Jared E. Drill, Esquire                                         Contingent
          The Vespi Law Firm                                                  Unliquidated
          547 Union Boulevard, 2nd Fl.                                        Disputed
          Totowa, NJ 07512
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,449.92
          Kennedy Culvert & Supply Co. Inc.                                   Contingent
          POB 841931                                                          Unliquidated
          Boston, MA 02284                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,962.38
          Kimball Midwest                                                     Contingent
          Dept. L-2780                                                        Unliquidated
          POB 2470                                                            Disputed
          Columbus, OH 43260-2780
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $525.00
          Komatsu FInancial LMT Part                                          Contingent
          POB 99303                                                           Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,181.98
          Komatsu Northeast                                                   Contingent
          32970 Collection Center Dr.                                         Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,214.00
          Lee Rain, Inc.                                                      Contingent
          2079 E. Wheat Rd.                                                   Unliquidated
          Vineland, NJ 08361                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,502.74
          Lighthouse Electrical Contractors                                   Contingent
          POB 352                                                             Unliquidated
          Brigantine, NJ 08203                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $906.72
          Live Message America                                                Contingent
          POB 639236                                                          Unliquidated
          Cincinnati, OH 45263-9236                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,514.00
          Local Teamsters 676                                                 Contingent
          400 Franklin Ave., Suite 135                                        Unliquidated
          Phoenixville, PA 19460                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $2,828,082.47
          Local Union No. 472, 172
          c/o Zazzali Fagella nowak et al                                     Contingent
          570 Broad Street, Suite 1402                                        Unliquidated
          Attn: J. Zazalli, E. O'Hare                                         Disputed
          Newark, NJ 07102
                                                                             Basis for the claim:    Judgments
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,597.38
          M&R Soil Investigation, Inc.                                        Contingent
          532 Old Marlton Pike W                                              Unliquidated
          Ste. 309                                                            Disputed
          Marlton, NJ 08053
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,000.00
          Mabey Inc.                                                          Contingent
          6770 Dorsey Rd.                                                     Unliquidated
          Elkridge, MD 21075                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,650.00
          Master Locators Inc.                                                Contingent
          675 Concord Rd.                                                     Unliquidated
          Glen Mills, PA 19342                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          Mattiola Services LLC                                               Contingent
          2052 B Lucon Rd.                                                    Unliquidated
          Skippack, PA 19474                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,500.00
          McCarthy & Company, PC                                              Contingent
          417 Atlantic City Blvd.                                             Unliquidated
          POB 275                                                             Disputed
          Beachwood, NJ 08722
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,485.47
          McCarthy Tire Serivce Co., Inc.                                     Contingent
          POB 1125                                                            Unliquidated
          Wilkes Barre, PA 18703-1125                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $133.28
          McJunkin Red Man Corporation                                        Contingent
          POB 204392                                                          Unliquidated
          Dallas, TX 75320-4392                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $286.00
          Metropolitan Truck Sales, Inc.                                      Contingent
          1360 Route 88                                                       Unliquidated
          Lakewood, NJ 08701                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,000.00
          Mobile Dredging & Video Pipe, INc.                                  Contingent
          3100 Bethel Rd.                                                     Unliquidated
          Chester, PA 19013                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,523.66
          National Paving Co Inc.                                             Contingent
          POB 5                                                               Unliquidated
          Berlin, NJ 08009                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,043.88
          Navigators Insurance Co.                                            Contingent
          POB 30864                                                           Unliquidated
          New York, NY 10087-0864                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $79.00
          New Jersey American Water                                           Contingent
          POB 371331                                                          Unliquidated
          Pittsburgh, PA 15250                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,064.00
          New Jersey State Polic                                              Contingent
          Fiscal Control Bureau-Revenue                                       Unliquidated
          POB 7068                                                            Disputed
          Trenton, NJ 08628
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,200.00
          New Jersey Utilities Association                                    Contingent
          50 W State St.                                                      Unliquidated
          Ste. 1117                                                           Disputed
          Trenton, NJ 08608
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,025.00
          NJBIA c/o NJM Bank                                                  Contingent
          POB 1728                                                            Unliquidated
          Trenton, NJ 08628                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $85,804.10
          Norris Sales Co.                                                    Contingent
          1010 Conshohocken Rd.                                               Unliquidated
          Attn: Jill Hacker
          Conshohocken, PA 19428                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $500.00
          Oak Forest Mobile Home Park                                         Contingent
          4019 Ocean Heights Ave.                                             Unliquidated
          Egg Harbor Township, NJ 08234                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,533.58
          Orchard Hydraulics Inc.                                             Contingent
          POB 218                                                             Unliquidated
          604 White Horse Pk.                                                 Disputed
          Cologne, NJ 08213
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,148.75
          Paul J. Gillespie, Inc.                                             Contingent
          2565 Burnetta Dr.                                                   Unliquidated
          Vineland, NJ 08360                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $87.00
          Pendergast Safety Equipment Company                                 Contingent
          8400 Enterprise Ave.                                                Unliquidated
          Philadelphia, PA 19153                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,358.23
          Pennoni                                                             Contingent
          2 Aquarium Dr.                                                      Unliquidated
          Ste. 320                                                            Disputed
          Camden, NJ 08103
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $480.36
          Penns Grove Police                                                  Contingent
          1 State St.                                                         Unliquidated
          Penns Grove, NJ 08069                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $294.30
          Pension Fund                                                        Contingent
          6981 N. Park Dr.                                                    Unliquidated
          Suite 400                                                           Disputed
          Merchantville, NJ 08109
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,225.44
          Pepboys                                                             Contingent
          POB 8500-50445                                                      Unliquidated
          Philadelphia, PA 19178-0445                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $16,429.50
          PMB&B                                                               Contingent
          1201 New Rd.                                                        Unliquidated
          Ste. 204                                                            Disputed
          Linwood, NJ 08221
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,750.00
          Portock, Bye, Weiss & Co.                                           Contingent
          2710 New Rd.                                                        Unliquidated
          POB 159                                                             Disputed
          Northfield, NJ 08225
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $31.79
          Progas Inc.                                                         Contingent
          144 W. White Horse Pike                                             Unliquidated
          Berlin, NJ 08009                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,608.92
          Purdy Automotive                                                    Contingent
          325 E White Horse Pk.                                               Unliquidated
          Absecon, NJ 08205                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $13,357.19
          Purdy Collision                                                     Contingent
          805 3rd Ave                                                         Unliquidated
          Absecon, NJ 08205                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,471.02
          Quality Truck Center                                                Contingent
          POB 511                                                             Unliquidated
          Absecon, NJ 08201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $746.45
          Quill/Tom Riggleman                                                 Contingent
          7 Technology Circle                                                 Unliquidated
          Columbia, SC 29203                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $769.30
          R.E. PIerson Materials Corp. Concrete                               Contingent
          POB 704                                                             Unliquidated
          Bridgeport, NJ 08014                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $340.56
          Rapid Trailer Parts Service, Inc.                                   Contingent
          301 E. Key Dr.                                                      Unliquidated
          Absecon, NJ 08205                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,405.04
          Raritan Supply Company                                              Contingent
          POB 10120                                                           Unliquidated
          New Brunswick, NJ 08906-0120                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $71.94
          Readyfresh by Nestle                                                Contingent
          POB 856192                                                          Unliquidated
          Louisville, KY 40285-6192                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,094.88
          Reliable Equipment & Service Co., Inc.                              Contingent
          POB 3009                                                            Unliquidated
          Warminster, PA 18974                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $5,000,000.00
          Richard McBride, et al.
          Attn: Frank Rocco Schirripa, Esq.                                   Contingent
          Hach Rose Schirripa & Cheverie LLP                                  Unliquidated
          185 Madison Avenue, 14th Floor                                      Disputed
          New York, NY 10016
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $106.63
          RID Pest Control                                                    Contingent
          6715 Delilah Rd.                                                    Unliquidated
          POB 1254                                                            Disputed
          Pleasantville, NJ 08232
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,708.78
          Riggins Inc.
          c/o Gruccio Pepper DeSanto & Ruth PA                                Contingent
          817 E. Landis Ave                                                   Unliquidated
          PO Box 1501                                                         Disputed
          Vineland, NJ 08362
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,000.00
          Robert Miller, Sr.                                                  Contingent
          823 3rd St.                                                         Unliquidated
          Somers Point, NJ 08244                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,057.40
          Roberts Oxygen Company, Inc.                                        Contingent
          POB 5507                                                            Unliquidated
          Rockville, MD 20855                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,213.86
          RPM Landscaping                                                     Contingent
          POB 205                                                             Unliquidated
          Absecon, NJ 08201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $207,616.00
          S.P.A. Safety Systems LLC                                           Contingent
          278 Old Ledgewood Rd.                                               Unliquidated
          Flanders, NJ 07836                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Safegard Group, Inc.                                                Contingent
          100 Granite Drive, Suite 205                                        Unliquidated
          Media, PA 19063                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,700.00
          Schaffer Nassar Scheidegg Consulting                                Contingent
          1425 Cantillon Blvd.                                                Unliquidated
          Mays Landing, NJ 08330                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $583.44
          Seashore Asphalt Corp.                                              Contingent
          2451 Route 610                                                      Unliquidated
          Woodbine, NJ 08270                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,668.85
          Seashore Associated Mechanical Inc.                                 Contingent
          360 S. Mannheim Ave.                                                Unliquidated
          Egg Harbor City, NJ 08215                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $433.21
          Shore Specialty Consultants, PA                                     Contingent
          POB 14000                                                           Unliquidated
          Belfast, ME 04915-4033                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,427.95
          Skyblitz Inc.                                                       Contingent
          200 South Wacker Drive. Suite 1800                                  Unliquidated
          Attn: Lawrence Henshaw                                              Disputed
          Chicago, IL 60606
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $120.00
          South Jersey Gas                                                    Contingent
          POB 6091                                                            Unliquidated
          Bellmawr, NJ 08099-6091                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $190.35
          South Jersey Paper Products                                         Contingent
          2400 Industrial Way                                                 Unliquidated
          Vineland, NJ 08360                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $280.00
          South Jersey Sanitation                                             Contingent
          POB 1224                                                            Unliquidated
          Hammonton, NJ 08037                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $132.49
          South Jersey Welding Supply Co.                                     Contingent
          POB 658                                                             Unliquidated
          Maple Shade, NJ 08052                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,881.09
          South State Materials                                               Contingent
          POB 68                                                              Unliquidated
          Bridgeton, NJ 08302                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $473.94
          Steckel's                                                           Contingent
          633 Water St.                                                       Unliquidated
          Belvidere, NJ 07823                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $400.00
          Steiner Law Office                                                  Contingent
          1210 S. Main St                                                     Unliquidated
          Pleasantville, NJ 08232                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,241.86
          Superior Splicing                                                   Contingent
          40 Prestwick Ct.                                                    Unliquidated
          Royersford, PA 19468                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,825.14
          Swan Pump & Supply Co.                                              Contingent
          POB 6396                                                            Unliquidated
          Freehold, NJ 07728                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $650.00
          Tars & Stripes Asphalt                                              Contingent
          304 White Horse Pk.                                                 Unliquidated
          Waterford Works, NJ 08089                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,580.00
          TD Bank                                                             Contingent
          601 White Horse Pike                                                Unliquidated
          Absecon, NJ 08201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Visa Card
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,625.00
          The Transportation Advisor, Inc.                                    Contingent
          POB 558                                                             Unliquidated
          Palmer, MA 01069                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,290.00
          Township of Gloucester                                              Contingent
          Christie Ehret, Treasurer                                           Unliquidated
          POB 8                                                               Disputed
          Blackwood, NJ 08012
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $760.00
          Township of Pennsauken                                              Contingent
          5605 N. Crescent Blvd.                                              Unliquidated
          Pennsauken, NJ 08110                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,318.00
          Township of Voorhees                                                Contingent
          2400 Voorhees Town Center                                           Unliquidated
          Voorhees, NJ 08043                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $250.00
          Townsquare Media-AC                                                 Contingent
          POB 28055                                                           Unliquidated
          New York, NY 10087-8055                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,594.00
          Traffic Safety Service LLC                                          Contingent
          601 Hadley Rd.                                                      Unliquidated
          South Plainfield, NJ 07080                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,334.84
          Transaxle, LLC                                                      Contingent
          2501 Rt. 73 South                                                   Unliquidated
          POB 2306                                                            Disputed
          Riverton, NJ 08077
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $757.55
          Tri State Industrial Supply INc.                                    Contingent
          POB 352                                                             Unliquidated
          West Berlin, NJ 08091                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $42,894.25
          Tri-State Cable Services, LLC                                       Contingent
          80 Jefferson St.                                                    Unliquidated
          Metuchen, NJ 08840                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,772.92
          Troil Enterprises LLC                                               Contingent
          2485 East State St. Ext.                                            Unliquidated
          Trenton, NJ 08619                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,803.18
          Trotta Catv Construction Co.                                        Contingent
          952 Churchtown Rd.                                                  Unliquidated
          Middletown, DE 19709                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $43,256.41
          Turtle & Hughes Inc.
          c/o Cohen, Seglias, Pallas, Greenhall                               Contingent
          30 S. 17th Street, 19th Fl                                          Unliquidated
          Attn: Evan A. Blaker                                                Disputed
          Philadelphia, PA 19103
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          U.S. Premium Finance                                                Contingent
          280 Technology Parkway Suite 200                                    Unliquidated
          Norcross, GA 30092
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,483.12
          United Rentals                                                      Contingent
          POB 100711                                                          Unliquidated
          Atlanta, GA 30384-0711                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $12.00
          UPS                                                                 Contingent
          PO Box 7247-0244                                                    Unliquidated
          Philadelphia, PA 19170-0001                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,050.00
          UTCA                                                                Contingent
          POB 728                                                             Unliquidated
          Allenwood, NJ 08720                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,093.83
          Val-U Auto Parts                                                    Contingent
          1613 White Horse Pk.                                                Unliquidated
          Egg Harbor City, NJ 08215                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,071.61
          Verizon                                                             Contingent
          POB 4830                                                            Unliquidated
          Trenton, NJ 08650                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Verizon New Jersey, Inc.                                            Contingent
          One Verizon Way
          Basking Ridge, NJ 07920
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes




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 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,963.38
          Verizon Wireless                                                    Contingent
          POB 25505                                                           Unliquidated
          Lehigh Valley, PA 18002-5505                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,170.00
          Verizon Wireless                                                    Contingent
          POB 25505                                                           Unliquidated
          Lehigh Valley, PA 18002-5505                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,318.00
          Voorhees Township Olice                                             Contingent
          1180 White Horse Rd.                                                Unliquidated
          Voorhees, NJ 08043                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,484.26
          W.B. Mason                                                          Contingent
          POB55840                                                            Unliquidated
          Boston, MA 02205-5840                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $12.00
          Waste Mangement of NJ                                               Contingent
          PO Box 13648                                                        Unliquidated
          Philadelphia, PA 19101                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $248.31
          Watchung Spring Water Co, Inc.                                      Contingent
          POB 3019                                                            Unliquidated
          Lakewood, NJ 08701                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $300.00
          Westampton Township Police Dept.                                    Contingent
          Sgt. Stephen Ent                                                    Unliquidated
          710 Rancocas Rd.                                                    Disputed
          Mount Holly, NJ 08060
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 45 of 47
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
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 Debtor       Kline Construction Co., Inc.                                                            Case number (if known)            19-25757-JNP
              Name

 3.205     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $3,190.00
           Wildwood Police Dept.                                              Contingent
           4400 New Jersey Ave                                                Unliquidated
           Wildwood, NJ 08260                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.206     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $12,478.44
           Winslow Hot Mix LLC                                                Contingent
           1435 Doughty Rd.                                                   Unliquidated
           Egg Harbor Township, NJ 08234                                      Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.207     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,192.96
           Wurth USA Inc.                                                     Contingent
           POB 415889                                                         Unliquidated
           Boston, MA 02241-5889                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.208     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $34,191.46
           Xylem Dewatering Solution, Inc.                                    Contingent
           26717 Network Pl.                                                  Unliquidated
           Chicago, IL 60673-1267                                             Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                      related creditor (if any) listed?             account number, if
                                                                                                                                                    any
 4.1       Andrew L. Salvatore, Esquire
           Andrew L. Salvatore, LLC                                                                   Line     3.197
           203 West Chestnut Street, Floor 3
           West Chester, PA 19380                                                                           Not listed. Explain


 4.2       Bressler-Duyk
           60 State Highway 27                                                                        Line     3.129
           Edison, NJ 08820-3908
                                                                                                            Not listed. Explain

 4.3       DeCotiis, Fitzpatrick, Cole & Giblin LLP
           500 Frank W. Burr Blvd. Suite 31                                                           Line     3.95
           Glenpointe Centre West
           Teaneck, NJ 07666                                                                                Not listed. Explain


 4.4       Jeffrey H. Ward, Esq.
           2 Village Ct.                                                                              Line     3.44
           Hazlet, NJ 07730
                                                                                                            Not listed. Explain




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 Debtor       Kline Construction Co., Inc.                                                       Case number (if known)            19-25757-JNP
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any
 4.5       Joseph D. Lento
           Optimum Law Group                                                                     Line      3.155
           300 Atrium Way, Suite 200
           Mount Laurel, NJ 08054                                                                      Not listed. Explain


 4.6       Kreiser & Associates, PC
           1300 Lawrence Road                                                                    Line      3.134
           Attn: Travis L. Kreiser
           Havertown, PA 19083                                                                         Not listed. Explain


 4.7       Law Offices of Brian D. Heun
           PO Box 299                                                                            Line      3.76
           Linwood, NJ 08221
                                                                                                       Not listed. Explain

 4.8       Michael V. Elward, Esquire
           1 Radar Way                                                                           Line      3.108
           Tinton Falls, NJ 07724
                                                                                                       Not listed. Explain

 4.9       O'Brien, Belland & Bushinsky, LLC
           509 S. Lenola Road, Building 6                                                        Line      3.92
           Moorestown, NJ 08057
                                                                                                       Not listed. Explain

 4.10      Riker Danzig Scherer Hyland & Perretti
           One Speedwell Avenue                                                                  Line      3.161
           Attn; Anthony J. Zarillo, Jr.
           Morristown, NJ 07962-1981                                                                   Not listed. Explain


 4.11      Ward Shindle & Hall
           196 Grove Avenue, Suite A                                                             Line      3.72
           Attn: M. Brian Hall
           West Deptford, NJ 08086                                                                     Not listed. Explain


 4.12      Zazzali, Fagella, Nowak, et al.
           Attn: Edward H. O'Hare, Esquire                                                       Line      3.118
           570 Broad Street, Suite 1402
           Newark, NJ 07102                                                                            Not listed. Explain



 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.          $                 3,300,888.98
 5b. Total claims from Part 2                                                                        5b.    +     $                11,363,151.86
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.          $                   14,664,040.84




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 Fill in this information to identify the case:

 Debtor name         Kline Construction Co., Inc.

 United States Bankruptcy Court for the:            NEW JERSEY

 Case number (if known)         19-25757-JNP
                                                                                                                                  Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.         State what the contract or                  Equipment Lease No.
              lease is for and the nature of              217149, 223497
              the debtor's interest

                  State the term remaining                                              Altec Capital Services, LLC
                                                                                        33 Inverness Center Pkwy.
              List the contract number of any                                           Suite 200
                    government contract                                                 Birmingham, AL 35242-4842


 2.2.         State what the contract or                  All Altec leased and/or
              lease is for and the nature of              financed equipment
              the debtor's interest

                  State the term remaining
                                                                                        Axis Capital, Inc.
              List the contract number of any                                           308 N. Locust Street, Suite 100
                    government contract                                                 Grand Island, NE 68801


 2.3.         State what the contract or                  Lease for Premises -
              lease is for and the nature of              125 Main Street, South
              the debtor's interest                       Amboy, NJ

                  State the term remaining
                                                                                        Bob/John McKeon
              List the contract number of any                                           125 Main Street
                    government contract                                                 South Amboy, NJ 08879


 2.4.         State what the contract or                  Lease for premises at
              lease is for and the nature of              243 Waveland Ave.,
              the debtor's interest                       Galloway, NJ

                  State the term remaining
                                                                                        Brighton Properties LLC
              List the contract number of any                                           240 Waveland Ave
                    government contract                                                 Galloway, NJ 08205




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.5.        State what the contract or                   Equipment Lease -
             lease is for and the nature of               Caterpillar 938K Wheel
             the debtor's interest                        Loader S/N SWL04124

                  State the term remaining
                                                                                       Caterpillar Financial Services Corporati
             List the contract number of any                                           2120 West End Avenue
                   government contract                                                 Nashville, TN 37203


 2.6.        State what the contract or                   Equipment Lease - 1
             lease is for and the nature of               Caterpillar Hydraulic
             the debtor's interest                        Excavator, S/N
                                                          NDJ20227
                  State the term remaining
                                                                                       Caterpillar Financial Services Corporati
             List the contract number of any                                           2120 West End Avenue
                   government contract                                                 Nashville, TN 37203


 2.7.        State what the contract or                   Caterpillar 420FIT
             lease is for and the nature of               Backhoe Loader
             the debtor's interest

                  State the term remaining
                                                                                       Caterpillar Financial Services Corporati
             List the contract number of any                                           2120 West End Avenue
                   government contract                                                 Nashville, TN 37203


 2.8.        State what the contract or                   2 Caterpillar 420FIT
             lease is for and the nature of               Backhoe Loaders
             the debtor's interest

                  State the term remaining
                                                                                       Caterpillar Financial Services Corporati
             List the contract number of any                                           2120 West End Avenue
                   government contract                                                 Nashville, TN 37203


 2.9.        State what the contract or                   2018 Rampant Trailer
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       CIT Bank, N.A.
             List the contract number of any                                           155 Commerce Way
                   government contract                                                 Portsmouth, NH 03801


 2.10.       State what the contract or                   Equipment Lease -
             lease is for and the nature of               Rampant Trailers
             the debtor's interest

                  State the term remaining                                             Direct Capital
                                                                                       155 Commerce Way
             List the contract number of any                                           Portsmouth, NH 03801
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 2 of 8
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract


 2.11.       State what the contract or                   Ditch Witch 410SX
             lease is for and the nature of               Vibratory Plows
             the debtor's interest

                  State the term remaining                                            Ditch Witch Financial Services
                                                                                      475 Sansome Street, 19th Fl
             List the contract number of any                                          NC-TR1-19-A
                   government contract                                                San Francisco, CA 94111


 2.12.       State what the contract or                   Ditch Witch Single
             lease is for and the nature of               Frequency Tracker
             the debtor's interest                        Packages TK Tracker

                  State the term remaining                                            Ditch Witch Financial Services
                                                                                      475 Sansome Street, 19th Fl
             List the contract number of any                                          NC-TR1-19-A
                   government contract                                                San Francisco, CA 94111


 2.13.       State what the contract or                   Ditch Witch Peak
             lease is for and the nature of               Receivers 150RP/150TX
             the debtor's interest

                  State the term remaining                                            Ditch Witch Financial Services
                                                                                      475 Sansome Street, 19th Fl
             List the contract number of any                                          NC-TR1-19-A
                   government contract                                                San Francisco, CA 94111


 2.14.       State what the contract or                   New Ditch Witch JT20
             lease is for and the nature of               Directional Drill
             the debtor's interest

                  State the term remaining                                            Ditch Witch Financial Services
                                                                                      475 Sansome Street, 19th Fl
             List the contract number of any                                          NC-TR1-19-A
                   government contract                                                San Francisco, CA 94111


 2.15.       State what the contract or                   New Ditch Witch
             lease is for and the nature of               Electronics TK Recon2
             the debtor's interest

                  State the term remaining                                            Ditch Witch Financial Services
                                                                                      475 Sansome Street, 19th Fl
             List the contract number of any                                          NC-TR1-19-A
                   government contract                                                San Francisco, CA 94111


 2.16.       State what the contract or                   Equipment Lease
             lease is for and the nature of               Financing Agreement         Ditchwitch Financial Services
             the debtor's interest                        No. 379-0873388004          POB 7167
                                                          and 005                     Pasadena, CA 91109-7167
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 Debtor 1 Kline Construction Co., Inc.                                                        Case number (if known)   19-25757-JNP
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.17.       State what the contract or                   2016 Ford F750
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Ford Motor Credit Company LLC
             List the contract number of any                                          PO Box 680020 MD 610
                   government contract                                                Franklin, TN 37068


 2.18.       State what the contract or                   Ford F-750
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Ford Motor Credit Company LLC
             List the contract number of any                                          PO Box 680020 MD 610
                   government contract                                                Franklin, TN 37068


 2.19.       State what the contract or                   Lease for premises at
             lease is for and the nature of               482 Houses Corner
             the debtor's interest                        Road, Sparta, NJ

                  State the term remaining
                                                                                      Grinnell Enterprises, Inc.
             List the contract number of any                                          482 Houses Corner Rd.
                   government contract                                                Sparta, NJ 07871


 2.20.       State what the contract or                   Lease for premises -
             lease is for and the nature of               Jackson, NJ
             the debtor's interest                        storage/office space

                  State the term remaining
                                                                                      Jerry's Auto Body, LLC
             List the contract number of any                                          456 West Commodore Blvd.
                   government contract                                                Jackson, NJ 08527


 2.21.       State what the contract or                   Equipment Lease - 3
             lease is for and the nature of               2017 John Deere 310SL
             the debtor's interest                        Loader Backhoes

                  State the term remaining
                                                                                      John Deere Construction & Forestry Co
             List the contract number of any                                          6400 NW 86th Street
                   government contract                                                Johnston, IA 50131




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.22.       State what the contract or                   Ditch Witch JT30 Drill
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       John Deere Construction & Forestry Co
             List the contract number of any                                           6400 NW 86th Street
                   government contract                                                 Johnston, IA 50131


 2.23.       State what the contract or                   Equipment Lease -
             lease is for and the nature of               2006 Flatbed BR89650,
             the debtor's interest                        2007 Morgan Dry Van
                                                          Body
                  State the term remaining
                                                                                       Just Four Wheels, Inc.
             List the contract number of any                                           609 W. White Horese Pike
                   government contract                                                 Egg Harbor City, NJ 08215-3741


 2.24.       State what the contract or                   Lease for premises -
             lease is for and the nature of               240 Waveland Ave.,
             the debtor's interest                        Galloway Twp., NJ
                                                          08203
                  State the term remaining
                                                                                       Kline & Kline
             List the contract number of any                                           240 Waveland Ave.
                   government contract                                                 Galloway, NJ 08205


 2.25.       State what the contract or                   Mack Cab and Chassis
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Marlin Business Bank
             List the contract number of any                                           2795 E Cottonwood Pkwy
                   government contract                                                 Salt Lake City, UT 84121


 2.26.       State what the contract or                   Coil Pipe Trailer
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Marlin Business Bank
             List the contract number of any                                           POB 13604
                   government contract                                                 Philadelphia, PA 19101-3604


 2.27.       State what the contract or                   Equipment lease -
             lease is for and the nature of               Backhoes
             the debtor's interest

                  State the term remaining                                             Navitas Credit Corp.
                                                                                       201 Executive Center Drive, Suite 100
             List the contract number of any                                           Columbia, SC 29210
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.28.       State what the contract or                   Equipment/Personal
             lease is for and the nature of               Property
             the debtor's interest

                  State the term remaining
                                                                                     Navitas Credit Corp.
             List the contract number of any                                         201 Executive Center Drive, Suite 100
                   government contract                                               Columbia, SC 29210


 2.29.       State what the contract or                   2005 Ford Truck
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Navitas Lease Corp ISAOA
             List the contract number of any                                         111 Executive Center Drive, Suite 102
                   government contract                                               Columbia, SC 29210


 2.30.       State what the contract or                   2001 Ford TGruck, 2006
             lease is for and the nature of               Ford Truck, 2008 Ditch
             the debtor's interest                        Witch JT1220 Mach 1
                                                          Directional Drill
                  State the term remaining
                                                                                     Navitas Lease Corp ISAOA
             List the contract number of any                                         111 Executive Center Drive, Suite 102
                   government contract                                               Columbia, SC 29210


 2.31.       State what the contract or                   Equipment Lease
             lease is for and the nature of               Agreement - 2018
             the debtor's interest                        Peterbilt 567 w/Beau
                                                          Body
                  State the term remaining                                           PACCAR Financial Corp.
                                                                                     POB 1518
             List the contract number of any                                         Attn: Linda Markle, BK Specialist
                   government contract                                               Bellevue, WA 98009


 2.32.       State what the contract or                   Equipment Lease -
             lease is for and the nature of               2018 Ford F450 SD
             the debtor's interest

                  State the term remaining
                                                                                     Quality Truck Center
             List the contract number of any                                         609 W. White Horse Pike
                   government contract                                               Egg Harbor City, NJ 08215


 2.33.       State what the contract or                   Equipment
             lease is for and the nature of                                          TD Equipment Financing
             the debtor's interest                                                   1006 Astoria Boulevard
                                                                                     Cherry Hill, NJ 08034
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 Debtor 1 Kline Construction Co., Inc.                                                        Case number (if known)   19-25757-JNP
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.34.       State what the contract or                   2016 HINO 155
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Toyota Industries Commercial Finance, In
             List the contract number of any                                          PO Box 9050
                   government contract                                                Dallas, TX 75019-9050


 2.35.       State what the contract or                   2017 HINO 155
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Toyota Industries Commercial Finance, In
             List the contract number of any                                          PO Box 9050
                   government contract                                                Dallas, TX 75019-9050


 2.36.       State what the contract or                   2007 Mitsubishi FE140
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Toyota Industries Commercial Finance, In
             List the contract number of any                                          PO Box 9050
                   government contract                                                Dallas, TX 75019-9050


 2.37.       State what the contract or                   2017 268A
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Toyota Industries Commercial Finance, In
             List the contract number of any                                          PO Box 9050
                   government contract                                                Dallas, TX 75019-9050


 2.38.       State what the contract or                   HINO 268A
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Toyota Industries Commercial Finance, In
             List the contract number of any                                          PO Box 9050
                   government contract                                                Dallas, TX 75019-9050




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 Debtor 1 Kline Construction Co., Inc.                                                       Case number (if known)   19-25757-JNP
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.39.       State what the contract or                   2006 HINO 268A
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Toyota Industries Commercial Finance, In
             List the contract number of any                                         PO Box 9050
                   government contract                                               Dallas, TX 75019-9050


 2.40.       State what the contract or                   2019 Ford F450
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Toyota Industries Commercial Finance, In
             List the contract number of any                                         PO Box 9050
                   government contract                                               Dallas, TX 75019-9050


 2.41.       State what the contract or                   Lease for premises -
             lease is for and the nature of               238 E. Waveland,
             the debtor's interest                        Galloway, NJ
                                                                                     Ventnor Realty Management
                  State the term remaining                                           c/o Brad Simon
                                                                                     Just Four Wheels, Inc.
             List the contract number of any                                         609 W White Horse Pike
                   government contract                                               Egg Harbor City, NJ 08215-3741


 2.42.       State what the contract or                   Lease for premises at
             lease is for and the nature of               822 Glassboro Road,
             the debtor's interest                        Williamstown, NJ 08094

                  State the term remaining
                                                                                     West Realty LLC
             List the contract number of any                                         240 Waveland Ave.
                   government contract                                               Galloway, NJ 08205




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 Fill in this information to identify the case:

 Debtor name         Kline Construction Co., Inc.

 United States Bankruptcy Court for the:            NEW JERSEY

 Case number (if known)         19-25757-JNP
                                                                                                                                          Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                             $14,959,308.76
       From 1/01/2019 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                             $30,301,045.00
       From 1/01/2018 to 12/31/2018
                                                                                                Other


       For year before that:                                                                    Operating a business                             $32,897,819.00
       From 1/01/2017 to 12/31/2017
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
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                                                          Document     Page 98 of 119
 Debtor       Kline Construction Co., Inc.                                                              Case number (if known) 19-25757-JNP



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See attached list                                                                                   $0.00          Secured debt
                                                                                                                                  Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    To be provided                                                                                      $0.00

       4.2.    To be provided                                                                                 Unknown


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Verizon New Jersey, Inc. v.                       Civil                      Superior Court of NJ,                        Pending
               Kline Construction Co., Inc.                                                 Burlington County                          On appeal
               and Atlantic Infratrac, LLC                                                  49 Rancocas Road
                                                                                                                                       Concluded
               BUR-DC-005128-19                                                             Mount Holly, NJ 08060




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
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       Attachment to Statement of Financial Affairs
               No. 3.1 – List of 90 Day Payments
            Case 19-25757-JNP              Doc 321 Filed 01/21/20 Entered 01/21/20 16:15:44 Desc Main
                                          Vendor                Check Number    Date       Amount
                                                 Document    Page 100 of 119
                JEFF MIELCHEN
                                                                   62434     5/17/2019     1,948.49
                Subcontractor- Comcast Jobs                        63262     5/24/2019     2,016.91
                                                                   63885     5/31/2019     2,041.73
                                                                   63971      6/3/2019       207.89
                                                                   64442      6/7/2019     2,078.00
                                                                   64988     6/14/2019     2,009.65
                                                                   65529     6/21/2019     2,050.96
                                                                   65975     6/28/2019     2,075.33
                                                                   66356      7/5/2019     1,400.00
                                                                   66806     7/12/2019     2,130.05
                                                                   67239     7/19/2019     1,928.68
                                                                   67604     7/26/2019     2,048.56
                                                                   68230      8/1/2019     2,043.21
                                                                   68658      8/8/2019     2,000.00
                                                                                          25,979.46
                CATERINA SUPPLY
                                                                   63377     5/29/2019       245.51
                Vendor- Materials                                  63939      6/3/2019       346.53
                                                                   64318      6/6/2019    30,844.00
                                                                   65346     6/18/2019       430.00
                                                                   68218      8/1/2019    11,324.20
                                                                   68565      8/7/2019     9,510.95
                                                                   68731     8/12/2019       960.32
                                                                                          53,661.51
                KENNEDY CULVERT & SUPPLY
                                                                   62602     5/20/2019     4,150.90
                Vendor- Materials                                  51899     5/22/2019       349.73
                                                                   63941      6/3/2019       368.92
                                                                   65367     6/19/2019     1,983.95
                                                                                           6,853.50
                JESCO INC
                                                                   62426     5/17/2019     2,589.31
                Vendor- Parts                                      63255     5/24/2019     2,500.00
                                                                   63950      6/3/2019     2,000.00
                                                                   64469     6/10/2019     2,500.00
                                                                   65025     6/17/2019     2,500.00
                                                                   65586     6/22/2019       905.79
                                                                   66325      7/3/2019       702.73
                                                                   66795     7/12/2019       775.30
                                                                                          14,473.13
                HICKOK COMMUNICATIONS, LLC
                                                                   62593     5/20/2019     3,122.80
                Subcontractor- Comcast Jobs                        63362     5/28/2019     3,370.30
                                                                   63951      6/3/2019     3,856.30
                                                                   64471     6/10/2019     4,455.00
                                                                   65026     6/17/2019     3,579.30
                                                                   65895     6/26/2019     3,032.80
                                                                   66355      7/5/2019     2,085.40
                                                                   66805     7/12/2019     2,152.50
Active\189143\00001\106521143.v1-1/3/20                            67238     7/19/2019     1,729.10
            Case 19-25757-JNP             Doc 321 Filed 01/21/20 Entered 01/21/20 16:15:44 Desc Main
                                                                  67603
                                                Document    Page 101 of 119 7/26/2019      2,012.50
                                                                  68229     8/1/2019      2,107.10
                                                                 686657     8/8/2019      2,629.20
                                                                                         34,132.30
                ALL CABLE CONSTRUCTION
                                                                  62594     5/20/2019     4,240.00
                Subcontractor- Comcast Jobs                       63363     5/28/2019     2,500.00
                                                                  63952      6/3/2019     2,500.00
                                                                  64472     6/10/2019     2,000.00
                                                                  64994     6/14/2019     2,345.75
                                                                  65027     6/17/2019     2,500.00
                                                                  65896     6/26/2019     1,800.00
                                                                  67240     7/19/2019     2,000.00
                                                                  67605     7/26/2019     2,500.00
                                                                  68231      8/1/2019     2,000.00
                                                                  68651      8/8/2019     3,000.00
                                                                                         27,385.75
                MCCARTHY TIRE SERVICE
                                                                  62598     5/20/2019     1,615.15
                Vendors- Parts for Vehicles & Equipment           63267     5/24/2019     1,383.87
                                                                  63955      6/3/2019     1,217.60
                                                                  65531     6/21/2019       717.71
                                                                  66809     7/12/2019     1,133.95
                                                                  68325      8/5/2019     2,109.09
                                                                  68659      8/8/2019       883.29
                                                                                          9,060.66
                TURTLE & HUGHES INC
                                                                  62442     5/17/2019     2,500.00
                Vendor- Materials                                 63268     5/24/2019     2,351.63
                                                                  63956      6/3/2019     2,000.00
                                                                  64474     6/10/2019     2,591.85
                                                                  65030     6/17/2019     2,591.85
                                                                  65537     6/21/2019     2,542.41
                                                                  65984     6/28/2019     4,970.00
                                                                  67244     7/19/2019     4,745.70
                                                                  67610     7/26/2019     3,783.25
                                                                  68749     8/12/2019     5,570.89
                                                                                         33,647.58
                TRI STATE CABLE SERVICES
                                                                  62600     5/20/2019     3,758.00
                Subcontractor- Comcast Jobs                       63365     5/28/2019     3,025.00
                                                                  63958      6/3/2019     3,751.25
                                                                  64475     6/10/2019     3,292.00
                                                                  65031     6/17/2019     3,549.40
                                                                  65898     6/26/2019     3,340.00
                                                                  66823     7/12/2019     2,125.00
                                                                  67246     7/19/2019     2,517.25
                                                                  67614     7/26/2019     2,537.00
                                                                  67725     7/29/2019     2,047.25
                                                                  68235      8/1/2019     2,866.25
                                                                  68673      8/8/2019     4,087.00
Active\189143\00001\106521143.v1-1/3/20                                                  36,895.40
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                METROPOLITAN TRUCK SALES
                                                Document    Page 102 of 119
                                                                  62405      5/16/2019          287.73
                Vendor- Parts for Equipem                         62406      5/16/2019        1,795.83
                                                                  62900      5/22/2019          549.03
                                                                  63960       6/3/2019        4,997.47
                                                                                              7,630.06

                PENNONI
                                                                  62449      5/17/2019        2,148.65
                Vendor - engineer for Comcast jobs                63303      5/24/2019        2,500.00
                                                                  63964       6/3/2019        2,500.00
                                                                  64476      6/10/2019        2,500.00
                                                                  65032      6/17/2019        2,555.81
                                                                  65991      6/28/2019        1,476.77
                                                                                             13,681.23
                ABLE EQUIPMENT RENTAL
                                                                  62450      5/17/2019        2,653.75
                Vendor - Crash Truck Rentals                      63304      5/24/2019        2,345.75
                                                                  63965       6/3/2019        2,345.75
                                                                  64460       6/7/2019        2,653.75
                                                                  65519      6/21/2019        2,345.75
                                                                  65992      6/28/2019        2,345.75
                                                                  66826      7/12/2019        1,064.33
                                                                  67714      7/29/2019        2,000.00
                                                                  68257       8/2/2019        2,345.75
                                                                  68649       8/8/2019        1,953.75
                                                                                             22,054.33
                NORRIS SALES
                Vendors - Parts for Vehicles & Equipment          64009      6/4/2019         7,518.06
                                                                  64455      6/7/2019         1,093.45
                                                                                              8,611.51
                RPM LANDSCAPING
                                                                  62436      5/17/2019    10,490.00
                Subcontractor-Old Debt                            62596      5/20/2019    10,125.00
                                                                  63264      5/24/2019    11,645.00
                                                                  63887      5/31/2019    10,377.50
                                                                  64010       6/4/2019     5,080.00
                                                                  64444       6/7/2019    12,880.00
                                                                  64990      6/14/2019    10,400.00
                                                                  65536      6/21/2019    10,570.00
                                                                  65977      6/28/2019    10,692.15
                                                                  66357       7/5/2019     4,034.74
                                                                  66720      7/10/2019    17,655.95
                                                                  67241      7/19/2019     4,204.77
                                                                  67607      7/26/2019     2,025.88
                                                                  68648       8/8/2019     3,500.00
                                                                                         123,680.99
                ALTEC
                                                                  64057       6/4/2019        4,546.00
                Vendor - Rental for Trucks                        65916      6/26/2019       10,346.30
                                                                                             14,892.30
                JERRY'S AUTO BODY
Active\189143\00001\106521143.v1-1/3/20
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                Rent S. Amboy Yard                                63302
                                                Document    Page 103 of 119 5/24/2019      1,077.25
                                                                  64065      6/4/2019     2,000.00
                                                                  64336      6/6/2019       602.83
                                                                  66846     7/12/2019     2,000.00
                                                                  67802     7/30/2019     1,354.89
                                                                                          7,034.97
                JOHN DEERE
                Lease/Equipment Monthly                           63335     5/24/2019     6,104.62
                                                                  64066      6/4/2019     8,085.00
                                                                  65922     6/26/2019     6,149.74
                                                                                         20,339.36
                MERCEDES BENZ FINANCIAL
                Lease - Ron Muchnick                              64067      6/4/2019       495.00
                Lease - Ed Kline                                  64629     6/12/2019     2,091.58
                Lease - Kathie Kline                              64630     6/12/2019     1,385.00
                Lease - Ron Muchnick                              66847     7/12/2019       495.00
                Lease - Ed Kline                                  66852     7/12/2019     2,091.58
                Lease - Kathie Kline                              66853     7/12/2019     1,385.00
                Lease - Not sure                                  67612     7/26/2019     1,830.00
                                                                                          9,773.16
                BRUCE A. WHITLOCK
                Subcontractor - Weekly                            62220     5/16/2019     1,150.00
                Subcontractor - Weekly + Extra                    62963     5/23/2019     1,375.00
                Subcontractor - Weekly + Extra                    63590     5/30/2019     1,375.00
                Subcontractor - Weekly + Extra                    64244      6/6/2019     1,375.00
                Subcontractor - Weekly + Extra                    64863     6/13/2019     1,375.00
                Subcontractor - Weekly                            65385     6/20/2019     1,150.00
                Subcontractor - Weekly                            65934     6/27/2019     1,150.00
                Subcontractor - Weekly                            66282      7/3/2019     1,150.00
                Subcontractor - Weekly                            66721     7/11/2019     1,150.00
                Subcontractor - Weekly                            67176     7/18/2019     1,150.00
                Subcontractor - Weekly                            67401     7/25/2019     1,150.00
                Subcontractor - Weekly                            67980      8/1/2019     1,150.00
                Subcontractor - Weekly                            68364      8/8/2019     1,150.00
                                                                                         15,850.00

                Ron Samarro                                       62221     5/16/2019     8,000.00
                Ron Samarro                                       62964     5/23/2019     8,000.00
                Ron Samarro                                       64245      6/6/2019     8,000.00
                Ron Samarro                                       64864     6/13/2019     8,000.00
                Chargebacks                                       64958     6/14/2019    20,785.24
                Ron Samarro                                       65386     6/20/2019     8,000.00
                Ron Samarro                                       65935     6/27/2019     8,000.00
                Ron Samarro                                       66283      7/3/2019     8,000.00
                Ron Samarro                                       67291     7/22/2019     8,000.00
                Ron Samarro                                       67402     7/25/2019     8,000.00
                Ron Samarro                                       67993      8/1/2019     8,000.00
                Ron Samarro                                       68365      8/8/2019     8,000.00
                                                                                        108,785.24
                RR MUCHNICK LLC
                HR Sub Contractor Weekly                          62223     5/16/2019     1,485.00
Active\189143\00001\106521143.v1-1/3/20                           62966     5/23/2019     1,485.00
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                                                                  63592
                                                Document    Page 104 of 119 5/30/2019      1,485.00
                                                                  64247      6/6/2019     1,485.00
                                                                  64866     6/13/2019     1,485.00
                                                                  65388     6/20/2019     1,485.00
                                                                  65937     6/27/2019     1,485.00
                                                                  66285      7/3/2019     1,485.00
                                                                  66724     7/11/2019     1,485.00
                                                                  67167     7/18/2019     1,485.00
                                                                  67404     7/25/2019     1,485.00
                                                                  67982      8/1/2019     1,485.00
                                                                  68367      8/8/2019     1,485.00
                                                                                         19,305.00
                DAVID COHEN
                Loan payments weekly                              62224     5/16/2019    10,000.00
                                                                  62967     5/23/2019    10,000.00
                                                                  63593     5/30/2019    10,000.00
                                                                  64248      6/6/2019    10,000.00
                                                                  64867     6/13/2019    10,000.00
                                                                  65389     6/20/2019    10,000.00
                                                                  65938     6/27/2019    10,000.00
                                                                  66286      7/3/2019    10,000.00
                                                                  66725     7/11/2019    10,000.00
                                                                  67168     7/18/2019    10,000.00
                                                                  67405     7/25/2019    10,000.00
                                                                  67983      8/1/2019    10,000.00
                                                                  68368      8/8/2019    10,000.00
                                                                                        130,000.00
                NORRIS SALES CO
                Vendor-Tools/Equip                                64316      6/6/2019       354.75
                                                                  64875     6/13/2019    10,706.09
                                                                                         11,060.84
                ATLANTIC CITY ELECTRIC
                Utility Bills                                     63282     5/24/2019       222.69
                                                                  63283     5/24/2019       161.14
                                                                  63284     5/24/2019       300.02
                                                                  63285     5/24/2019         9.96
                                                                  63286     5/24/2019       453.45
                                                                  63287     5/24/2019       427.38
                                                                  63288     5/24/2019       645.08
                                                                  63289     5/24/2019       148.22
                                                                  63290     5/24/2019     1,299.85
                                                                  63291     5/24/2019        87.03
                                                                  63292     5/24/2019       102.80
                                                                  63293     5/24/2019        48.96
                                                                  63294     5/24/2019       105.14
                                                                  93295     5/24/2019        49.51
                                                                  64413      6/7/2019       118.47
                                                                  64414      6/7/2019       205.45
                                                                  64415      6/7/2019       441.57
                                                                  64416      6/7/2019       562.96
                                                                  64417      6/7/2019        70.22
Active\189143\00001\106521143.v1-1/3/20                           64418      6/7/2019       452.84
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                                                                  64419
                                                Document    Page 105 of 119 6/7/2019            400.72
                                                                     64420    6/7/2019        1,232.86
                                                                     64421    6/7/2019           88.64
                                                                     64422    6/7/2019          168.39
                                                                     64423    6/7/2019           82.53
                                                                     66812   7/12/2019          656.89
                                                                     67261   7/19/2019          203.12
                                                                     67262   7/19/2019          303.69
                                                                     67263   7/19/2019        1,546.23
                                                                     67264   7/19/2019          119.09
                                                                     67265   7/19/2019          609.91
                                                                     67266   7/19/2019          379.54
                                                                     67267   7/19/2019           66.61
                                                                     67268   7/19/2019          550.50
                                                                     67269   7/19/2019           16.28
                                                                     67270   7/19/2019          820.02
                                                                     67271   7/19/2019            6.30
                                                                     67272   7/19/2019          333.39
                                                                     67273   7/19/2019          144.53
                                                                     68215    8/1/2019          301.62
                                                                                             13,943.60
                TD BANK
                these are bank fees for Atlantic City Electric CCV   62446   5/17/2019          527.14
                payments and for wire fees from Prestige             62466   5/17/2019        1,987.93
                payments and/or David Cohen loan                     62485   5/18/2019           15.00
                                                                     62487   5/18/2019          160.00
                                                                     63184   5/22/2019           15.00
                                                                     63373   5/25/2019          846.38
                                                                     63901   5/29/2019           15.00
                                                                     67645   5/30/2019           15.00
                                                                     63900   5/31/2019        1,923.26
                                                                     64436    6/7/2019          786.52
                                                                     64437    6/7/2019          897.93
                                                                     64496    6/8/2019        9,589.20
                                                                     65058   6/15/2019        1,362.65
                                                                     65473   6/17/2019        2,078.49
                                                                     65291   6/18/2019           15.00
                                                                     65591   6/22/2019          160.20
                                                                     66014   6/29/2019        6,399.87
                                                                     66373    7/2/2019           15.00
                                                                     66374    7/6/2019        1,478.20
                                                                     66955   7/10/2019           15.00
                                                                     66820   7/12/2019          286.34
                                                                     66821   7/12/2019          592.73
                                                                     66946   7/15/2019        1,781.11
                                                                     66957   7/15/2019          160.00
                                                                     68313   7/31/2019        8,778.65
                                                                     68317   7/31/2019           60.00
                                                                     68219    8/1/2019          870.90
                                                                     68220    8/1/2019          143.93
                                                                     68322    8/2/2019          423.31
Active\189143\00001\106521143.v1-1/3/20                              67812    8/5/2019        6,263.04
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                                                                  68385
                                                Document    Page 106 of 119 8/6/2019             15.00
                                                                  68750      8/12/2019       19,880.00
                                                                                             67,557.78
                INSURANCE OFFICE OF AMERICA
                Bond Company                                      62880      5/21/2019          250.00
                                                                  64439       6/7/2019        8,886.00
                                                                                              9,136.00
                G. DAVIS CABLE INC
                Subcontractor-Comcast Jobs                        62431      5/17/2019        4,439.95
                                                                  63258      5/24/2019        4,042.98
                                                                  63882      5/31/2019        3,018.08
                                                                  64440       6/7/2019        2,613.08
                                                                  64985      6/14/2019        3,395.38
                                                                  65526      6/21/2019        3,539.68
                                                                  65971      6/28/2019        3,836.91
                                                                  66354       7/5/2019        1,932.05
                                                                  66798      7/12/2019        2,513.14
                                                                  67235      7/19/2019        2,522.75
                                                                  67236      7/19/2019        2,522.75
                                                                  67599      7/26/2019        3,054.03
                                                                  68224       8/1/2019        2,178.94
                                                                  68655       8/8/2019        2,898.20
                                                                                             42,507.92
                HENRY'S GRIND
                Subcontractor-Comcast Jobs                        62433      5/17/2019        1,824.00
                                                                  63261      5/24/2019        2,805.00
                                                                  63884      5/31/2019        3,307.50
                                                                  64441       6/7/2019        2,850.00
                                                                  64987      6/14/2019        3,510.00
                                                                  65527      6/21/2019        3,780.00
                                                                  65974      6/28/2019        3,195.00
                                                                  66804      7/12/2019        1,800.00
                                                                  67237      7/19/2019        2,526.50
                                                                  67602      7/26/2019        2,038.50
                                                                  68228       8/1/2019        2,179.00
                                                                  68656       8/8/2019        2,666.00
                                                                                             32,481.50
                ACE OIL CO
                Vendor - Fuel Delivery                            62439      5/17/2019        6,603.22
                                                                  63266      5/24/2019        9,372.48
                                                                  63889      5/31/2019        5,149.74
                                                                  64445       6/7/2019        5,927.08
                                                                  64992      6/14/2019        5,505.25
                                                                  65520      6/21/2019        6,258.00
                                                                  65982      6/28/2019        6,373.53
                                                                  66808      7/12/2019        5,634.57
                                                                  67243      7/19/2019        8,845.97
                                                                  67609      7/26/2019        5,127.85
                                                                  68233       8/1/2019        5,694.52
                                                                  68650       8/8/2019        6,254.89
                                                                                             76,747.10
                RIGGINS INC
Active\189143\00001\106521143.v1-1/3/20
            Case 19-25757-JNP             Doc 321 Filed 01/21/20 Entered 01/21/20 16:15:44 Desc Main
                Vendor - Fuel Delivery                            62445
                                                Document    Page 107 of 119 5/17/2019      4,210.50
                                                                  63271     5/24/2019     3,326.77
                                                                  63890     5/31/2019     3,472.02
                                                                  64446      6/7/2019     4,648.85
                                                                  64993     6/14/2019     3,478.80
                                                                  65535     6/21/2019     3,978.44
                                                                  65987     6/28/2019     3,981.60
                                                                  66811     7/12/2019     4,680.77
                                                                  67245     7/19/2019     1,860.60
                                                                  67611     7/26/2019     3,945.40
                                                                  68234      8/1/2019     4,601.58
                                                                  68661      8/8/2019     4,205.95
                                                                                         46,391.28
                A.E. STONE
                materials for job                                 62443     5/17/2019     1,114.73
                                                                  63269     5/24/2019       753.81
                                                                  64456      6/7/2019     1,110.70
                                                                  65518     6/21/2019       552.33
                                                                  65985     6/28/2019     1,277.03
                                                                  69060     8/13/2019     2,530.33
                                                                                          7,338.93
                UNIVERSAL PREMIUM
                Vendor - fuel credit card                         63248     5/28/2019    12,134.51
                                                                  64495     6/10/2019    14,835.97
                                                                  65900     6/26/2019    14,127.98
                                                                  66487      7/9/2019    14,386.57
                                                                  67378     7/24/2019    10,548.81
                                                                  68773     8/12/2019     6,715.58
                                                                                         72,749.42
                TROTTA CATV CONSTRUCTION
                sub for Comcast                                   63260     5/24/2019     3,607.00
                                                                  63883     5/31/2019     4,000.00
                                                                  64470     6/10/2019     3,746.53
                                                                  67236     7/19/2019     2,268.64
                                                                  67601     7/26/2019     3,000.00
                                                                  68227      8/1/2019     2,000.00
                                                                  68665      8/8/2019     2,500.00
                                                                                         21,122.17
                KOMATSU NORTHEAST
                excavator rental                                  64477     6/10/2019     8,103.50

                HOUPERT TRUCK SERVICE
                                                                  64531     6/11/2019     1,889.02
                                                                  65528     6/21/2019     2,873.35
                                                                  65988     6/28/2019       847.54
                                                                  67613     7/26/2019     2,500.00
                                                                                          8,109.91
                MCCARTHY AND COMPANY CPA's
                                                                  64590     6/12/2019     5,000.00
                December 31, 2018 Financial Statements            65973     6/28/2019     1,350.00
                Corporate, Personal and Trusts Tax Returns.       66801     7/12/2019     2,000.00
Active\189143\00001\106521143.v1-1/3/20                           67600     7/26/2019     4,150.00
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                                                                  68226
                                                Document    Page 108 of 119 8/1/2019       5,000.00
                March 31, 2019 Financial Statement                68324      8/5/2019     5,000.00
                Assistance with Budget 13 week CR and CD          68849     8/13/2019    14,000.00
                                                                                         36,500.00
                HOME DEPOT CREDIT CARD
                materials for jobs                                63778     5/30/2019     5,081.39
                KMKP credit card                                  64911     6/13/2019     1,749.51
                materials for jobs                                67325     7/23/2019     2,077.02
                materials for jobs                                67400     7/23/2019     3,155.89
                                                                                         12,063.81
                NJ FAMILY SUPPORT
                child support weekly                              62236     5/16/2019     1,944.00
                                                                  63162     5/23/2019     1,872.00
                                                                  63643     5/30/2019     1,964.00
                                                                  65402     6/20/2019     1,853.00
                                                                  65864     6/27/2019     1,853.00
                                                                  66297      7/3/2019     1,665.00
                                                                  66366      7/5/2019       188.00
                                                                  66711     7/11/2019     1,853.00
                                                                  66934     7/15/2019       538.00
                                                                  66935     7/15/2019       387.38
                                                                  67160     7/18/2019     1,315.00
                                                                  67410     7/25/2019     1,367.62
                                                                  67988      8/1/2019     1,853.00
                                                                  68380      8/8/2019     1,763.00
                                                                                         20,416.00
                HORIZON BLUE CROSS
                health ins                                        62806     5/20/2019     1,467.58
                                                                  62807     5/20/2019    23,829.10
                                                                  65515     6/21/2019       733.79
                                                                  65517     6/21/2019    15,602.98
                                                                  68311     7/22/2019         0.30
                                                                  67293     7/22/2019    21,331.18
                                                                  68743     8/13/2019    18,814.13
                                                                                         81,779.06
                RARITAN SUPPLY COMPANY
                materials for jobs                                62882     5/21/2019     4,372.91
                                                                  65534     6/21/2019       907.51
                                                                  65993     6/28/2019     1,000.00
                                                                  68645      8/8/2019     3,000.00
                                                                                          9,280.42
                US PREMIUM FINANCE
                Insurance finance                                 65540     5/31/2019   148,217.75
                                                                  67653     6/24/2019   116,591.84
                                                                  67179     7/18/2019   111,626.49
                                                                                        376,436.08
                S.P.A SAFTEY SYSTEMS
                payment plan - tma rentals                        63367     5/28/2019    10,000.00
                                                                  65891     6/26/2019    10,000.00
                                                                                         20,000.00
                NFS
                life nsurance
Active\189143\00001\106521143.v1-1/3/20                           65893     6/26/2019     4,800.00
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                                                                  67288
                                                Document    Page 109 of 119 7/22/2019      4,950.00
                                                                                          9,750.00
                NJ MOTOR VEHICLE
                registrations                                     63714     5/30/2019     6,034.50
                                                                  65894     6/26/2019     8,129.50
                                                                  67803     7/30/2019     5,039.50
                                                                                         19,203.50
                CHIESA SHAHINIAN
                Tobia legal                                       62597     5/20/2019    10,351.79
                                                                  65978     6/28/2019    10,000.00
                                                                  67242     7/19/2019    10,042.50
                                                                  67608     7/26/2019     9,768.40
                                                                  68232      8/1/2019     7,738.84
                                                                  68654      8/8/2019    10,000.00
                                                                  68851     8/13/2019    10,000.00
                                                                                         67,901.53
                MASS MUTUAL
                                                                  63370     5/28/2019     3,026.15
                                                                  65998     6/28/2019     3,026.15
                                                                  67719     7/29/2019     3,026.15
                                                                                          9,078.45
                NAVITAS
                monthly leases                                    63902     6/3/2019      4,445.15
                                                                  66052     7/2/2019      4,445.15
                                                                  68239     8/2/2019      4,445.15
                                                                                         13,335.45
                PRTRANS
                payroll fund transfers                            62471     5/16/2019   113,000.00
                                                                  62472     5/16/2019    33,000.00
                                                                  63328     5/23/2019   101,000.00
                                                                  63329     5/23/2019    39,000.00
                                                                  63710     5/30/2019   112,000.00
                                                                  63711     5/30/2019    43,000.00
                                                                  64342      6/6/2019    77,000.00
                                                                  64343      6/6/2019    53,000.00
                                                                  64554     6/11/2019     5,000.00
                                                                  64933     6/13/2019   109,000.00
                                                                  64934     6/13/2019    41,000.00
                                                                  65462     6/20/2019    93,000.00
                                                                  65463     6/20/2019    33,000.00
                                                                  65949     6/27/2019   107,000.00
                                                                  65950     6/27/2019    37,000.00
                                                                  66337      7/3/2019    50,000.00
                                                                  66338      7/3/2019    40,000.00
                                                                  66360      7/5/2019    50,000.00
                                                                  66855     7/11/2019    78,000.00
                                                                  66856     7/11/2019    33,500.00
                                                                  66947     7/16/2019    25,000.00
                                                                  67192     7/18/2019    10,000.00
                                                                  67193     7/18/2019   100,000.00
                                                                  67590     7/25/2019    98,000.00
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                                                                  68280      8/1/2019      115,000.00
                                                                  68281      8/2/2019       11,000.00
                                                                  68713      8/7/2019      100,000.00
                                                                  68714      8/7/2019       12,000.00
                                                                                         1,727,500.00
                MATRIX
                Prestige Money Matrix-CONTRA                      64462       6/7/2019        1,220.55
                                                                  64958      6/14/2019       20,785.24
                                                                                             22,005.79
                AMERICAN EXPRESS
                Company Plum Card                                 66320      7/4/2019        20,464.53

                SAFEGAURD GROUP
                Payment for down payment loan                     66794      7/12/2019       10,000.00
                                                                  67234      7/19/2019       10,371.00
                                                                  67598      7/26/2019       10,000.00
                                                                  68223       8/1/2019       10,000.00
                                                                  68662       8/8/2019       10,000.00
                                                                                             50,371.00
                MAGYAR BANK
                SBA Loan and LOC                                  63398      5/29/2019       55,000.00
                                                                  63403      5/29/2019        1,000.00
                                                                  66963      7/17/2019        2,000.00
                                                                                             58,000.00
                L. FERIOZZI
                payroll 172                                       68252      8/2/2019        30,600.00

                NEW JERSEY
                tax payments                                      62894      5/22/2019       45,000.00
                                                                  68748      8/12/2019        5,544.00
                                                                                             50,544.00
                A.C. MILLER CONCRETE
                Vendor - Concrete jobs                            62592      5/20/2019       10,234.00

                CINCINNATI INSURANCE
                Damages for jobs                                  62601      5/20/2019       11,403.11

                XYLEM DEWATERING SOLUTION
                Vendor-pump rentals/hoses/atlanticare job         62878      5/21/2019       13,477.80

                C.W. SALES CORPORATION
                Vendor-Sub pumps for job                          62881      5/21/2019        9,297.52




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 Debtor       Kline Construction Co., Inc.                                                              Case number (if known) 19-25757-JNP



               Case title                                        Nature of case            Court or agency's name and          Status of case
               Case number                                                                 address
       7.2.    Laborers' Local Union Nos.                        Civil                     U.S. District Court, District          Pending
               472 & 172, et al. v. Kline                                                  of NJ                                On appeal
               Construction Co., Inc.                                                      Mitchell H. Cohen
                                                                                                                                Concluded
               19-cv-16275                                                                 Building/US Courthouse
                                                                                           4th & Cooper Streets
                                                                                           Camden, NJ 08101

       7.3.    Trustees of the International                     Civil                     U.S. District Court, District          Pending
               Union of Operating Engineers                                                of NJ                                On appeal
               Local 825 Employee Benefit                                                  Mitchell H. Cohen
                                                                                                                                Concluded
               Funds v. Kline Construction                                                 Building/US Courthouse
               Co., Inc., et al.                                                           4th & Cooper Streets
               19-12219                                                                    Camden, NJ 08101

       7.4.    Richard McBride, et al. v.                        Civil                     U.S. District Court, District          Pending
               Kline Construction Co., Inc.,                                               of NJ                                On appeal
               et al.                                                                      Mitchell H. Cohen
                                                                                                                                Concluded
               19-14275                                                                    Building/US Courthouse
                                                                                           4th & Cooper Streets
                                                                                           Camden, NJ 08101

       7.5.    Cartaynic, Inc. d/b/a All                         Civil                     Superior Court of NJ,                  Pending
               County Technologies v. Kline                                                Atlantic County                      On appeal
               Construction Co., Inc.                                                      1201 Bacharach Blvd.
                                                                                                                                Concluded
               ATL-L-002070-19                                                             Atlantic City, NJ 08401

       7.6.    Verizon New Jersey, Inc. v.                       Civil                     Superior Court of NJ,                  Pending
               Kline Construction Company,                                                 Gloucester County                    On appeal
               Inc.                                                                        70 Hunter St.
                                                                                                                                Concluded
               GLO-L-000795-19                                                             Woodbury, NJ 08096

       7.7.    Kayla M. Gabadian and Paul                        Civil                     Superior Court of NJ,                  Pending
               Gabadian, per quod v.                                                       Morris County                        On appeal
               Timothy S. Piper, Kline                                                     56 Washington St.
                                                                                                                                Concluded
               Contruction Company, Inc., et                                               Morristown, NJ 07960
               al.
               MRS-L-1290-19

       7.8.    FCA Brothers Construction &                       Civil                     Superior Court of NJ,                  Pending
               Landscaping, LLC v. Kline                                                   Atlantic County                      On appeal
               Construction Co., Inc.                                                      1201 Bacharach Blvd.
                                                                                                                                Concluded
               ATL-L-1400-19                                                               Atlantic City, NJ 08401

       7.9.    K Moorea Co., LLC d/b/a                           Civil                     Superior Court of NJ,                  Pending
               Traffic Plan v. Kline                                                       Monmouth County                      On appeal
               Construction Co., Inc.                                                      71 Monument St.
                                                                                                                                Concluded
               MON-L-001840-19                                                             Freehold, NJ 07728

       7.10 Verizon New Jersey, Inc. v.                          Civil                     Superior Court of NJ,                  Pending
       .    Kline Construction Co., Inc.                                                   Atlantic County                      On appeal
               and Atlantic Infratrac, LLC                                                 1201 Bacharach Blvd.
                                                                                                                                Concluded
               ATL-L-001198-19                                                             Atlantic City, NJ 08401

       7.11 Gloria G. Meehan and John                            Civil                     Superior Court of NJ, Cape             Pending
       .    Meehan v. Douglas Carter, et                                                   May County                           On appeal
               al.                                                                         9 N. Main St.
                                                                                                                                Concluded
               CPM-L-000169-18                                                             Cape May Court House, NJ
                                                                                           08210


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 Debtor      Kline Construction Co., Inc.                                                                   Case number (if known) 19-25757-JNP



               Case title                                        Nature of case               Court or agency's name and          Status of case
               Case number                                                                    address
       7.12 Norris Sales Co., Inc. v. Kline                      Civil                        Court of Common Pleas,                  Pending
       .    Construction Co., Inc.                                                            Montgomery County                    On appeal
               2019-18318                                                                     2 E. Airy St.
                                                                                                                                   Concluded
                                                                                              Norristown, PA 19401

       7.13 Kline Construction Co., Inc. v.                      Debtor filed a               United States Tax Court                 Pending
       .    Commissioner of Internal                             petition regarding           U.S. Customs House                   On appeal
               Revenue                                           the penalties                200 Chestnut Street
                                                                                                                                   Concluded
               18732-18 L                                        associated with              Philadelphia, PA 19196
                                                                 Form 941
                                                                 penalties for the
                                                                 1st - 3rd quarters
                                                                 of 2016

       7.14 Renato Asuncion v. Arthur R.                         Personal Injury              Superior Court of NJ,                   Pending
       .    Henry, Inc., et al.                                                               Atlantic County                      On appeal
               ATL-L-00385-19                                                                 1201 Bacharach Blvd.
                                                                                                                                   Concluded
                                                                                              Atlantic City, NJ 08401


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                      Description of the gifts or contributions               Dates given                           Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                      Amount of payments received for the loss                Dates of loss            Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).
       Stolen Tools                                              $38,000.00 (original value less than                                                    Unknown
                                                                 $50,000.00)


 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.


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 Debtor        Kline Construction Co., Inc.                                                             Case number (if known) 19-25757-JNP



                 Who was paid or who received                        If not money, describe any property transferred           Dates          Total amount or
                 the transfer?                                                                                                                         value
                 Address
       11.1.     Fox Rothschild LLP
                 1301 Atlantic Avenue, Suite
                 400
                 Midtown Bldg.
                 Atlantic City, NJ 08401-7212                                                                                  7/25/19            $12,500.00

                 Email or website address
                 www.foxrothschild.com

                 Who made the payment, if not debtor?




       11.2.     Fox Rothschild LLP
                 1301 Atlantic Avenue, Suite
                 400
                 Midtown Bldg.
                 Atlantic City, NJ 08401-7212                                                                                  8/7/19             $12,500.00

                 Email or website address
                 www.foxrothschild.com

                 Who made the payment, if not debtor?




       11.3.     Fox Rothschild LLP
                 1301 Atlantic Avenue, Suite
                 400
                 Midtown Bldg.
                 Atlantic City, NJ 08401-7212                                                                                  8/8/19             $50,000.00

                 Email or website address
                 www.foxrothschild.com

                 Who made the payment, if not debtor?




       11.4.     Fox Rothschild LLP
                 1301 Atlantic Avenue, Suite
                 400
                 Midtown Bldg.
                 Atlantic City, NJ 08401-7212                                                                                  8/12/19            $25,000.00

                 Email or website address
                 www.foxrothschild.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.


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Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
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       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

       No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was            Last balance
                Address                                          account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

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           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       McCarthy & Company, PC                                                                                                     2/19 - 8/19
                    417 Atlantic City Blvd.
                    POB 275
                    Beachwood, NJ 08722
       26a.2.       Holman Frenia Allison, P.C.                                                                                                2/17 - 2/19
                    680 Hooper Ave.
                    Bldg. B, Ste. 201
                    Toms River, NJ 08753

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Debtor
                    240 E. Waveland Ave.
                    Absecon, NJ 08205

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address
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       Name and address
       26d.1.  Magyar Bank
                    400 Somerset Street
                    New Brunswick, NJ 08901
       26d.2.       Selective Insurance Co of America
                    POB 371468
                    Pittsburgh, PA 15250-7468

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       J. Edward Kline                                240 E. Waveland Ave.                                Shareholder-Class A Voting            0.499000%
                                                      Absecon, NJ 08205

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       J. Edward Kline Trust for K.                   240 E. Waveland Ave.                                Shareholder - Class B                 23.253000%
       Penate                                         Absecon, NJ 08205                                   Non-Voting

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       J. Edward Kline Trust for                      240 E. Waveland Ave.                                Shareholder - Class B                 23.253000%
       Wm. M. Kline                                   Absecon, NJ 08205                                   Non-Voting

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Katherine M. Penate                            700 Chelsea Road                                    Shareholder - Class B                 2.995000%
                                                      Absecon, NJ 08201-1621                              Non-Voting; Secretary and
                                                                                                          Treasurer
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       William H. Kline Jr.                           2550 Harbour Cove Road                              Class A Voting                        0.499000%
                                                      Hutchinson, FL 34949

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       William Kline Trust for K.                     453 Seashore Road                                   Class B Non-Voting                    23.253000%
       Penate                                         Brigantine, NJ 08203

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       William Kline Trust for Wm.                    453 Seashore Road                                   Class B Non-Voting                    23.23000%
       M. Kline                                       1201 New Road, Suite 204
                                                      Brigantine, NJ 08203
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       William M. Kline                               449 Sea Horse Road                                  Shareholder - Class B                 2.995000%
                                                      Brigantine, NJ 08203                                Non-Voting




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       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       J. Edward Kline                                240 E. Waveland Ave.                                Director, Chairman of the
                                                      Absecon, NJ 08205                                   Board

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       William H. Kline Jr.                           2550 Harbour Cove Road                              Director, Vice Chairman of the
                                                      Hutchinson, FL 34949                                Board

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Ronald Samarro                                 240 E. Waveland Ave.                                Chief Restructuring Officer           -0-
                                                      Absecon, NJ 08205



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
       Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 To be provided
       .

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

       No
           Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation
                                                                                                               EIN:




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